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CIVIL ACTION COVER SHEET B The Superior Court 7
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PLAINTIFF(S): G. Renee Payrfe-Caltender COUNTY
— Suffolk
ADDRESS: 306 Ashmont Street, Dorchester, MA 02124

 

 

 

DEFENDANT({S): Donna M. Gavin, 8&8 Wharf Street, Miltan, MA 2486

 

 

City of Boston Police Department, One Schroeder Plaza, Roxbury Crossing, MA 02120

 

ATTORNEY: Jeremy ¥. Weltman, Esq.

ADDRESS: Hernes, Netburs, O'GCannor & Spearing, P.C. ADDRESS: ,

 

 

285 Franklin Street, 7th Floor, Boston, MA 027710

 

 

 

 

 

 

BBO: 862293
Ay “TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)
CODE NO. Be TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
B22 ‘Employment Discrimination 1 oF YES NO :
eel —' Fo tyes TANG
*If "Other" piease describe: . re i oo6re-
ls there a claim under G.L. c. 9347 Is this a class action under Mass: R. cia. 23? |
[] YES [x] NO [_] YES [x] NO > =
STATEMENT OF DAMAGES PURSUANT TO G.L. cc. 212,§ 3A a nad

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff's counsel reliés io deljmine fi ‘noney damages.
For this form, disregard double or treble damage claims; indicate single damages only.

TORT GLAIMS
{attach additional sheets as necessary}

A. Documented medical expenses to date:
4. Total hospital expenses ....
2. Total doctor expenses ..........
3. Total chiropractic expenses ........
4, Total physical therapy expenses ...........
5. Total other expenses (describe DelOW) ........ se ec eee cee c senses seeeneee eseenennea cuneseesauses Wossuseaeecausecaavsessunegaesesnensuneneessousenensseeenenanaes

 
 
  
 

B, Documented lost wages and compensation £0 date cee stecerseess eee eeeesnesscesecnnenesceeessscemensaseesassaeeeneaee pa pOeenasde pHs eRoHpReaeeseaeenaueqa payne sean
C. Documented property damages to date... cssessseseeensneneneeaes
D. Reasonably anticipated future medical and hospital expenses .....
E, Reasonably anticipated lost WAQGS .........ccsssssssseneseesssestsennens bene ge, 100,000
F. Other documented items of damages (describe DEIOW) ..........c cc sscscsesecssesnecnensenseseeeeneessccaeesersaenensscseesssensenesseseaetecessaseeesespaes sasnasenenseaaaepess ¢ (000,000

 
 
 

 

G. Briefly describe plaintiff's injury, including the nature and extent of injury:

Plaintiff has been discriminated against, retaliated against, and subjected to a hostile work environment. Plaintiff has lost
TOTAL (A-F):$3,100,000

wages, her earning capacity has been significantly reduced, and she has suffered extreme mental and emotional distress.

CONTRACT CLAIMS
(attach additional sheets as necessary)
Fhis action includes a claim fnvolving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).

Provide a detailed description of claim(s):
TOTAL: $

Signature of Attorney/ Unrepresented,Piaintiff: X Littl JA JLS Date: Lf / {7 / i q
I

RELATED ACTIONS: Please provide the case number, case name, and county of py related actions pending in the Superiof Couft.

 

 

CERTIFICATION PURSUANT TO SJC RULE 7:18 ;
| hereby certify that | have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that | provide my clients with information about court-connected dispute resolution services and discuss with them the
advantages and disadvantages of the various methods of dispute resolution.

|Signature of Attorney of Record: X Wntttlgo- Date: FT h 7 | | 7
v Jf

 

 

 

 
 

Case 1:19-cv-11286-R

CIVIL TRACKING ORDER
(STANDING ORDER 1- 88)

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The Superior Court

 

 

 

CASE NAMES Michael Joseph Donovan, Clerk of Court
Detective G Renee Payne-Callender vs. Lieutenant Detective Donna M
Gavin etal

TO: COURT NAME & ADDRESS

Suffolk County Superior Court - Civil
Suffolk County Courthouse, 12th Floor
Three Pemberton Square

Boston, MA 02108

 

 

 

TRACKING ORDER -F - Fast Track
You are hereby notified that this case is on the track referenced above as per Superior Court Standing

Order 1-88. The order requires that the various stages of litigation described below must be completed not later

than the deadlines indicated.

 

 

 

 

 

 

 

 

 

 

STAGES OF LITIGATION DEADLINE
SERVED BY FILED BY HEARD BY
Service of process made and return filed with the Court 07/16/2019
Response to the complaint filed (also see MRCP 12) 08/15/2019
All motions under MRCP 12, 19, and 20 08/15/2019 09/16/2019 10/15/2019
All motions under MRCP 15 08/15/2019 09/16/2019 10/15/2019

 

 

depositions completed

All discovery requests and depositions served and non-expert

 
 
 

02/11/2020

 

All motions under MRCP 56

    

03/12/2020 04/13/2020

 

   

 

Final pre-trial conference held and/or firm trial date set

   

08/10/2020

 

 

Case shail be resolved and judgment shall issue by

 

 

 

 

 

The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.

Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.

This case is assigned to

 

DATE ISSUED ASSISTANT CLERK

04/17/2019 Christine M Hayes

PHONE

(617)788-8141

 

 

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COMMONWEALTH OF MASSACHUSETTS

 

 

 

SUFFOLK, ss. SUPERIOR COURT
CIVIL ACTIONNo.: (Q-\2Lt2 3
| ) :
G. RENEE PAYNE-CALLENDER, )
)
Plaintiff, )
v. ‘ ) gi BR cs
DONNA M. GANIN and Yj a
CITY OF BOSTON POLICE DEPARTMENT, ) =
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Defendants. ) 0
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VERIFIED COMPLAINT AND JURY DEMAND

 

This case concerns discrimination, retaliation, and harassment suffered by the Plaintiff,
Detective G. Renee Payne-Callender (“Payne-Callender”), at the hands of the Defendants,
Lieutenant Detective Donna M. Gavin (“Gavin”) and the City of Boston Police Department.
Payne-Callender, an African-American woman, has been an officer and detective in the
predominantly white male Boston Police Department for almost 34 years. She has an exemplary
record of victim advocacy, resilience in her fight against human trafficking and crimes against
children, and investment in the neighborhoods within the City of Boston.

Payne-Callender began her career in 1985 as a police dispatcher. By the end of 1986, she
_ attained the rank of police officer; she was promoted to detective in 1998. Payne-Callender’s
exemplary career trajectory continued over the next decade; she investigated domestic violence
allegations for the Sexdal Assault Unit, she worked alongside the FBI in the Bureau of Field

Services, and in 2007 she was transferred to the Boston Police Department Family Justice Center’s

prestigious Human Trafficking Unit. From 2007 to 2009, Payne-Callender thrived in the Human

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COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss. SUPERIOR COURT
CIVIL ACTION No.:

 

G, RENEE PAYNE-CALLENDER,
Plaintiff,
v.

DONNA M. GAVIN and
CITY OF BOSTON POLICE DEPARTMENT,

Defendants.

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VERIFIED COMPLAINT AND JURY DEMAND

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Trafficking Unit. However, everything changed in 2009 when then-Sergeant Detective Donna
Gavin joined the Human Trafficking Unit as Payne-Callender’s supervising Sergeant, All of a
sudden, Payne-Callender’s positive career progression ceased,

In her time under Gavin, Payne-Callender was continuously subjected to discrimination on
the basis of race, gender, and age, which resulted in a hostile work environment. Payne-Callender
brought the discrimination to the City of Boston Police Department’s attention, yet no action was
taken to remediate the situation; instead, it was pushed under the proverbial rug. In 2011, Gavin
transferred Payne-Callender out of the Human Trafficking Unit even though Payne-Caliender was
the Unit’s most qualified detective. Payne-Callender was eventually re-assigned to the Crimes
Against Children Unit, where she was no longer under Gavin’s direct supervision. However,
because the Crimes Against Children Unit was, along with the Human Trafficking Unit, part of
the Family Justice Center, Payne-Callender remained under the purview of Gavin’s influence.

Payne-Callender’s complaints about Gavin, the Boston Police Department Family Justice
Center’s sole female Lieutenant Detective, and the public face of the Police Department’s
“integration” of women into the higher ranks of the force, permanently damaged Payne-
Callender’s career. Further, because of Gavin’s influence throughout the Family Justice Center,
and the close proximity within which the Human Trafficking Unit and the Crimes Against Children
Unit work, Payne-Callender continues to face a hostile work environment due to racial, gender,
and age discrimination at the hands of both Gavin and the Boston Police Department.

In addition, the City of Boston Police Department has known of Gavin’s discrimination
towards Payne-Callender and has taken no steps to protect her, choosing instead, to turn a blind
eye. The minimal effort the City of Boston Police Department has placed into investigating Payne-

Callender’s allegations amounts fo a sham investigation designed to protect itself and Gavin and

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cause deliberate harm to Payne-Callender. Payne-Callender, therefore, brings this action seeking
compensatory and other damages, as further outlined herein,
PARTEES

1. The Plaintiff, Detective G. Renee Payne-Callender (“Payne-Callender”), is an individual
residing at 300 Ashmont Street, Dorchester, Suffolk County, MA 02124. Payne-Callender is
a 56 year old African-American woman, At all relevant times herein, Payne-Callender is and
has been a Detective with the City of Boston Police Department.

2, The Defendant, Lieutenant Detective Donna M. Gavin (“Gavin”), is an individual residing at
88 Wharf Street, Milton, Norfolk County, MA 02186, Gavin is employed by Defendant City
of Boston Police Department as a Lieutenant Detective.

3. The Defendant, City of Boston Police Department (“Boston Police”), is a department with the
City of Boston with its headquarters located at One Schroeder Plaza, Roxbury Crossing,
Suffolk County, MA 02120.

JURISDICTION AND VENUE

4. Jurisdiction is conferred upon this Court pursuant to the provisions of Mass, Gen. Laws c. 212,

§§ 3 and 4, Venue in Suffolk County is proper pursuant to Mass. Gen. Laws c. 223, § 1.
FACTS

5. Payne-Callender is employed as a detective with the Boston Police Department. She has been
employed by the Boston Police for almost 34 years. She has served as a detective in the Bureau
of Field Services, the Bureau of Investigative Services, the Bureau of Professional Standards
and Development, and the Family Justice Center. Within the Family Justice Center, Payne-

Callender has worked as a detective in the Domestic Violence Unit, the Sexual Assault Unit,

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and the Human Trafficking Unit. Payne-Callender is currently a detective in the Crimes
Against Children Unit, which is also within the Family Justice Center.

6. Payne-Callender has received numerous accolades and commendations in the course of her
career. She has been recognized for, among other things, her work with the Human Trafficking
Unit, assisting the Suffolk County District Attorney’s Office with the successful prosecution
of serious criminal matters, and her dedication to outreach and programs to improve the Boston
community. Payne-Callender’s personnel record reflects her exemplary work performance
and her efforts to seek out continuing education to better perform her duties as a Boston Police
detective.

7. In seven of the past 10 years, Payne-Callender has dedicated her free time to serve as an adjunct
professor of criminal justice at Roxbury Community College. Each year, Payne-Callender
received permission from the Boston Police Commissioner to hold off-duty employment after
submitting the standard, one-page Form 2196 “Request for Permission to Hold Off-Duty
Employment” required by Boston Police Rule 102, § 33. The Commissioner routinely
approved Payne-Callender’s request without question.

8. On December 15, 2007, Payne-Callender was assigned to the Human Trafficking Unit of the
Boston Police Bureau of Investigative Services. While in the Human Trafficking Unit, she
held the role of Human Trafficking Task Force Officer with the FBI with Special-Duty U.S.
Marshal ability. At all times relevant herein, Payne-Callender was and is the most qualified
detective within the Boston Police to hold these positions.

9, On July 18, 2009, the Defendant Donna M. Gavin, holding at that time the rank of Sergeant
Detective, was reassigned from the Sexual Assault Unit to the Family Justice Division (both

within the Bureau of Investigative Services). Gavin became Payne-Callender’s immediate

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supervisor, Gavin’s work schedule was Monday through Friday, 7:30 a.m. to 4:00 p.m.;
Payne-Callender’s schedule was Monday through Friday, 4:00 p.m. to 11:45 p.m. Payne-
Callender had no direct supervisor while on duty. Without a direct supervisor, Payne-
Callender was required from time to time to call Gavin on her department-issued cell phone.
Gavin would not answer Payne-Callender’s calls, ali of which related to active criminal
investigations. By ignoring Payne-Callender’s calls, Gavin made it impossible for Payne-
Callender to adequately perform her job duties and adhere to reporting requirements.
The City Councilor Incident

10, On Friday, September 24, 2010, Payne-Callender, while working in the Human Trafficking
Unit, received a telephone call from then-City Councilor Ayanna Pressley stating she was
approached by a black male regarding prostitution at the Back Bay MBTA station. Payne-
Callender called Gavin numerous times on her cellphone, but Gavin did not answer. Because
Gavin did not answer, Payne-Callender contacted Sergeant Detective Daniel Keeler and
informed him of the telephone call she had received from Councilor Pressley. Sgt, Det. Keeler,
Boston Police detectives from District D-4, and Payne-Callender searched the Back Bay
MBTA station and did not locate the reported party.

11. Despite not answering the numerous telephone calls from Payne-Callender, on Saturday,
September 25, 2010, Gavin contacted Payne-Callender and accused her of failing to follow the
protocol for notifying her supervisor.

12, On Monday, September 27, 2010, Gavin brought Payne-Callender before Kelly Nee, who upon
information and belief was the Boston Police Deputy Superintendent at that time, accusing

Payne-Callender of failing to notify Gavin of Councilor Pressley’s encounter. Payne-

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Callender was reprimanded and directed to notify Gavin of all incidents immediately. The fact
that Gavin did not answer her cell phone when Payne-Callender called was not addressed.
Gavin’s accusations humiliated Payne-Callender in front of Dep. Sup. Nee and started what
has become a long and continuous history of Gavin’s harassing and discriminatory behavior
creating a hostile workplace within which Payne-Callender was required to work.

The State Police Incident
On Thursday, May 19, 2011, Payne-Callender received a telephone call from the
Massachusetts State Police asking for assistance from the Boston Police Human Trafficking
Unit with responding to an allegation of sex trafficking of a young female at the Best Western
Inn in Quincy, Massachusetts. Payne-Callender was out-of-state investigating another matter
and could not respond.
Heeding Dep. Sup. Nee and Gavin’s directive that Gavin must be immediately notified of all
incidents, Payne-Callender directed the State Police to cali Gavin’s cellphone directly and
provided her phone number.
On Friday, May 20, 2011, Payne-Callender told Gavin she directed the State Police to call
Gavin directly about the sex trafficking incident. Gavin told Payne-Callender she did not speak
with the State Police.
On Saturday, May 21, 2011, Gavin called Payne-Callender and questioned her about the sex
trafficking incident. Payne-Callender again told Gavin she directed the State Police to call
Gavin directly.
On Wednesday, May 25, 2011, Gavin brought Payne-Cailender before Captain Detective Mark
Hayes accusing her of failing to notify Gavin of the sex trafficking incident. Gavin stated she

could not manage Payne-Callender. Gavin further stated she did not like Payne-Callender.

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Again, Gavin humiliated Payne-Callender with baseless accusations, this time in front of Capt.
Det. Hayes.

Despite Gavin’s clear animosity and dislike for Payne-Callender, Capt. Det. Hayes did nothing
to protect Payne-Callender from Gavin’s harassment or relieve her from reporting directly to
Gavin. Instead, Gavin was allowed to transfer Payne-Callender out of the Human Trafficking
Unit in retaliation for Gavin disclosing to Hayes that it was Gavin that failed to answer her
phone that was the problem — not Payne-Callender’s alleged failure to report. Gavin did not
provide a reasonable or nondiscriminatory basis why Payne-Callender was being transferred
or to which Unit she would go; however, it became increasingly clear to Payne-Callender that
Gavin harbored discriminatory animus toward her on the basis of race, gender and age.

Gavin handpicked Detective Lanita Cullinane to replace Payne-Callender in the Human
Trafficking Unit. While Det. Cullinane is an African-American female, she was less than 40-
years-old at the time she replaced Payne-Callender, had less time on the force, and had no
previous experience working in the Human Trafficking Unit or with trafficking victims.

Det. Cullinane was transferred out of the Human Trafficking Unit less than one year later and
replaced by Ludwik Bartkiewicz, a younger, white, male detective. Det. Cullinane’s brief time
in the Unit was used to mask the true intent of the Boston Police: to replace Payne-Caliender
with a younger, white, male detective.

Payne-Callender met with Dep. Sup. Nee on June 1, 2011 to determine where Payne-Callender
would be transferred.

Payne-Callender requested a transfer to the Special Investigations Unit, a Unit with zero

African-American female detectives, and was simply told “no.” No further reason was given.

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After being denied a transfer to the Special Investigations Unit, Payne-Callender requested to
be transferred to the Crimes Against Children Unit, which is housed in the same building as
Gavin’s Human Trafficking Unit.
Gavin tried to prevent Payne-Callender from working in the same building by pressuring Dep.
Sup. Nee into reassigning Payne-Callender to another District rather than a Unit in the Family
Justice Center. In pressuring Dep. Sup. Nee, Gavin acted to prevent Payne-Callender from
holding a position within the Boston Police commensurate with her training and experience.
Gavin’s actions were an attempt to materially and objectively change the conditions of Payne-
Callender’s employment, subjecting her to adverse employment conditions and marginalizing
Payne-Callender’s position within the Boston Police for no other reason than. because of her
gender, race and age.
Gavin’s conduct was and is a part of an ongoing pattern of harassing and discriminatory
behavior creating a hostile workplace within which Payne-Callender was required to work.
Gavin’s ongoing harassment and discrimination caused Payne-Callender to dread coming to
work cach day.

2014 Unreasonable Withholding of Training Incident
On August 26, 2014, Payne-Callender submitted a request to Capt. Det. Hayes to attend the
“Human Trafficking Train the Trainer” professional development seminar put on by the
Municipal Police Training Committee on September 8, 2014. Payne-Callender made this
request because she was the most knowledgeable and experienced detective in the area of
human trafficking at the Boston Police and would greatly benefit from continuing education

and training in the field.

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Gavin attempted to block Payne-Callender from attending the training seminar for no valid
reason other than her discriminatory animus toward Payne-Callender.
Asa pretext for her discrimination against Payne-Callender, Gavin argued to Capt, Det. Hayes
that Payne-Callender could not go to the training seminar because she was not a member of
the Human Trafficking Unit anymore.
Nowhere in the requirements for this program did it require applicants to be current members
of the Human Trafficking Unit. The training was not limited to a select number of individuals;
it was open to all that satisfied the seminar’s requirements.
Capt. Det. Hayes recognized that while Payne-Callender did not work in the Human
Trafficking Unit, there were no other detectives in the Human Trafficking Unit better qualified
than her, and granted her request to apply to and attend the seminar.
Gavin’s blatant, intentional discrimination unreasonably interfered with Payne-Callender’s
ability to do her job.
Gavin’s conduct in this instance was and is part of an ongoing pattern of discriminatory
behavior creating a hostile workplace within which Payne-Callender was required to work, and
about which the Boston Police did nothing to address.

2014 Sergeant’s Exam
In an attempt to advance her career and solidify a well-earned promotion, Payne-Callender
registered to take the Boston Police Department’s sergeant’s exam in 2014,
Due to a death in her family, Payne-Callender had to travel outside the country to attend funeral
services at the time in which the sergeant’s exam was scheduled to take place.
Payne-Callender petitioned the Boston Police to take the exam early and her request was

denied, Payne-Callender was told by former Director of Human Resources for the Boston

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Police, Edward P. Callahan, that the only police officers allowed to take the sergeant’s exam
at a different time were those that could not take the test due to active duty military
commitments outside of the country.
Payne-Callender subsequently learned that the Boston Police granted the requests of two other
male officers to take the sergeant’s exam at a different time, neither request being based on an
active duty military commitment out of the country.

2017 Human Trafficking and Exploitation Training
The Boston Police work in conjunction with the Suffolk County District Attorney’s Office to
investigate and prosecute human trafficking and exploitation crimes. On December 21, 2016,
Maryrose Anthes, Chief of the Human Trafficking and Exploitation Unit within the District
Attorney’s Office, sent an email to 17 people requesting that they save the date of February
15, 2017, for a free human trafficking and exploitation training session involving the District
Attorney’s Office and certain Boston Police employees. Payne-Callender was a recipient of
this email.
On February 14, 2017, the day before the training, Gavin sent an email to Payne-Callender
stating “Renee, Please disregard the training that you were sent a save the date for. Your
attendance is not required.” Gavin did not explain why she instructed Payne-Callender not to
attend the free training.
On February 15, 2017, Payne-Callender and Detective Michael Sullivan, another detective in
the Crimes Against Children Unit, notified their immediate supervisor Sergeant Detective
Brian Miller and Capt. Det. Hayes that Gavin was prohibiting them from attending the free

training with no given reason,

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Upon information and belief, the training attendees were told that there was not enough space
in the training room for Payne-Callender and Det, Sullivan to participate. This excuse was not
true.
Gavin’s discrimination of Payne-Callender on the basis of her age, race and gender prohibited
Payne-Callender from engaging in training designed to improve her performance as a detective
and increase her chance for promotion. Gavin’s act of prohibiting Payne-Callender from
attending the free training was not addressed by Sgt. Det. Miller, Capt. Det. Hayes, or any
other Boston Police supervisor; rather, it was again swept under the proverbial rug.
Gavin’s conduct in this instance was and is a part of an ongoing pattern of discrimination
against Payne-Callender on the basis of her race, gender and age. Gavin’s continuous
discriminatory conduct towards Payne-Callender created a hostile work environment.

2017 Gavin and Captain Detective Hayes Complaints
On April 24, 2017, Gavin filed a formal complaint with Boston Police Internal Affairs against
Capt. Det. Hayes for harassment, hostile work environment, gender discrimination, and
retaliation.
On May 16, 2017, Capt. Det. Hayes filed a formal complaint with Internal Affairs against
Gavin for neglect of duty and directives or orders.
On May 17, 2107, Gavin was removed from the chain of command and instructed to stop
reporting to Capt. Det. Hayes and to report to Deputy Superintendent Norma Ayala. It is the
customary and usual practice of the Boston Police to remove a complainant or the aggressor
from the chain of command once a complaint is filed.
During the course of the investigation into the competing complaints, Sergeant Detective

Richard Dahill interviewed Payne-Callender about the events underlying the complaints. The

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interview was audio recorded. During the interview, Payne-Callender expressed her fear that
Gavin would retaliate against her for cooperating with the investigation.
Payne-Callender’s fear of retaliation was never addressed.

2017 Civilian Incident
Gavin’s continuous discrimination and retaliation of Payne-Callender came to a head in August
and September, 2017.
On August 15, 2017, a virus was detected on Payne-Callender’s work computer. She notified
the Beston Police Information Systems Group (“ISG”) and an ISG member serviced the
computer the following morning.
On August 16, 2017, after waiting two hours at the direction of the ISG member, Payne-
Callender restarted her computer. At approximately 1:34 p.m., Sergeant Detective Thomas
Lembo walked into Payne-Callender’s office and directed her to unplug her computer, Set.
Det. Lembo then handed her a printed email addressed to civilian clerk Janet Dougherty of the
Human Trafficking Unit. The email, dated August 16, 2017 and timestamped 12:34 p.m.,
asked Ms. Dougherty to disconnect Payne-Callender’s computer from the system due to the
presence of a virus. Payne-Callender called ISG and learned that the email to Ms. Dougherty
was a second request to unplug her computer because of the presence of a virus.
Given the nature of the email’s importance, Payne-Callender requested and received
permission from Sgt. Det. Lembo to address the manner and delay in which the email was
delivered to her. Payne-Callender went to the Human Trafficking Unit office and spoke with
Sergeant Kathy Dozis. She requested that Sgt. Doris instruct Human Trafficking Unit
personnel to forward emails meant for Payne-Callender directly to her, rather than delaying

delivery of the email by providing a copy to a supervisor. Sgt. Doris agreed to this request.

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Immediately following Payne-Callender’s conversation with Sgt. Doris, Ms. Dougherty
initiated a verbal exchange with Payne-Callender in an aggressive manner. Payne-Callender
walked out of the Human Trafficking Unit and did not engage with Ms. Dougherty. Payne-
Callender returned to the Crimes Against Children Unit and reported the incident to Sgt. Det.
Lembo,

After a discussion between Sgt, Det. Lembo and Sgt. Doris, they determined the incident did
not require narrative reports (“Form 26 Reports”) documenting it from the parties or witnesses.
On August 17, 2017, Payne-Callender spoke to Capt. Det. Hayes about the incident with Ms.
Dougherty and he agreed with and confirmed the decision of Sgt. Det. Lembo and Sgt. Doris
that no Form 26 Reports were required.

On August 17, 2017, Payne-Callender observed Gavin and Ms. Dougherty leave the Family
Justice Center together. Sometime later on August 17, 2017, when Ms. Dougherty returned to
the Family Justice Center, she refused to speak with Sgt. Doris but rather handed her a Form
26 Report. Sgt. Doris took the Form 26 Report to Capt. Det. Hayes, at which time Capt. Det.
Hayes stated that everyone in the Human Trafficking Unit (including Payne-Callender) must
now submit a Form 26 Report.

On September 5, 2017, Sgt. Det. Lembo informed Payne-Callender that he was asked by Gavin
to rewrite his Form 26 Report for submission to Human Resources and remove facts about
the incident with Ms. Dougherty because his original Report would “open up a can of worms.”
On September 6, 2017, Payne-Callender met with Capt. Det. Hayes, Sgt. Det. Lembo, and Set.
Det. Miller and learned that Gavin had submitted only Ms. Dougherty’s Form 26 Report to
Human Resources and had not submitted the seven other Form 26 Reports related to the

incident,

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Gavin was not on duty or present in the Human Trafficking Unit at the time of the incident,
and previously admitted that she “has limited knowledge of the 2017 Civilian Incident.” Gavin
did not attempt to speak with Payne-Callender about the incident with Ms. Dougherty, nor did.
she inform anyone about her submission of only Ms. Dougherty’s Form 26 Report (despite
having reviewed all eight Form 26 Reports on August 22, 2017). Gavin’s deliberate
indifference to and obfuscation of the facts in this instance was a deliberate attempt to smear
Payne-Callender and is evidence of the type of discriminatory behavior that Payne-Callender
has had to endure at the hands of Gavin, Gavin’s discriminatory actions caused Payne-
Callender to come under investigation by Human Resources, unreasonably interfering with
Payne-Callender’s work performance. Gavin was retaliating against her for cooperating with
the investigation into the competing complaints between Gavin and Capt. Det. Hayes.
If Payne-Callender was white, or a male, she would not have been subjected to Gavin’s
humiliating and discriminatory acts,
If Payne-Callender was white, or a male, the Boston Police would have taken action against
Gavin immediately for her discriminatory conduct towards Payne-Callender.
Gavin’s insidious act of withholding relevant Form 26 Reports from Human Resources was
and is a part of an ongoing pattern of discriminatory behavior and abuse creating a hostile
workplace for Payne-Callender.

Payne-Callender’s September 8, 2017 Internal Affairs Complaint
Due to the continuous discrimination and retaliation on the part of Gavin, in particular her
actions regarding the 2017 Civilian Incident, and the Boston Police Department’s failure to

take steps to protect Payne-Callender from Gavin’s discriminatory and retaliatory conduct,

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Payne-Callender was compelled to file a formal “Harassment and Hostile Work Environment”
claim against Gavin with the Boston Police Internal Affairs Division.

On September 8, 2017, Payne-Callender met with Sergeant Detective John McDonough,
formerly of the Internal Affairs Division, to file a complaint against Gavin. Sgt. Det.
McDonough informed Payne-Callender that he was retirmg and would not take a new case.
He told Payne-Callender that he would write a synopsis of her complaint but would not take a
recorded interview, and would pass it onto another officer in the department.

A meaningful investigation into Internal Affairs complaints includes, in part, the procedures
set forth in Boston Police Rules and Procedures No. 114 titled “Sexual Harassment,
Discrimination, Harassment, and Retaliation Policy and Complaint Procedure.” The
investigation conducted by Internal Affairs on behalf of Payne-Callender was certainly not
meaningful.

On September 12, 2017, Payne-Callender spoke with Sergeant Detective Michael Talbot
regarding her complaint against Gavin. Payne-Callender learned from Sgt. Det. Talbot that
Superintendent Frank Mancini falsely reported that he spoke with Payne-Callender about the
investigation into her complaint. Payne-Callender did not speak with Super. Mancini about
Gavin at any time.

On September 15, 2017, Deputy Superintendent Jeffrey Walcott called Payne-Callender to
schedule an interview on her claims against Gavin. Dep. Super. Walcott was not able to tell
Payne-Callender who would be investigating her claims.

Payne-Callender’s Internal Affairs interview took place on September, 19, 2017 in the
presence of Lieutenant Detective Brian McEachern, Sergeant Detective Sharon Dottin and

Union Attorney Scott Dunlap. During the interview, Payne-Callender stated that Sgt. Det.

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McDonough’s synopsis prepared on September 8, 2017 was inaccurate and inconsistent with
what Payne-Callender reported.

After the interview, Lt, Det. McEachern told Payne-Callender that the assigned Internal Affairs
Investigator would contact her. Payne-Callender requested immediate remedial action to
protect her from discriminatory conduct, the hostile working conditions, and retaliation. Lt,
Det. McEachern did not provide Payne-Callender any assurance that remedial action would be
taken to remove her from the chain of command, despite the Department’s usual and customary
policy of removing a complainant or the aggressor from the chain of command once a
complaint is filed.

On October 5, 2017, Payne-Callender learned from Capt. Det. Hayes that Sergeant Detective
Brian Riley of Internal Affairs was assigned to investigate her complaint. Payne-Callender
was never contacted by Sgt. Det. Riley despite Lt. Det. McEachern’s representation that she
would be contacted directly.

Payne-Callender repeatedly has been told that Internal Affairs is “investigating” her claim
against Gavin, but have not reached a conclusion and are unable to tell Payne-Callender when
the investigation will be completed. Upon information and belief, there are now three other
internal affairs complaints against Gavin for creating a hostile workplace and other
discriminatory acts and abuses against officers, civilian employees and the Suffolk County
District Attorney’s Office.

Since Payne-Callender filed her Internal Affairs Complaint, Gavin brought suit in Norfolk
Superior Court against the Boston Police and Capt. Det. Hayes on March 16, 2018, alleging
discrimination and hostile workplace claims. The case has since been removed to the U.S.

District Court for the District of Massachusetts, Docket No. 1:18-cv-10819-LTS.

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. The pending litigation between the defendants to this action unreasonably prohibits Payne-

Callender from obtaiming a resolution of her Internal Affairs Complaint and protection from
Gavin’s harassment and discrimination.
To date, Internal Affairs has repeatedly failed to take action to protect Payne-Callender or
legitimately investigate her claims,
The BPD’s “investigation” into Payne-Callender’s 2017 Internal Affairs Complaint is a sham
undertaken to delay action against Gavin that may harm its defenses in Gavin’s lawsuit against
it and Capt. Det. Hayes.

2018 Crimes Against Children Unit Emails

Payne-Cailender injured her foot in a workplace incident on February 27, 2018. Payne-

Callender was out on temporary medical leave from March 14, 2018 to February 11, 2019.

Despite this temporary medical leave, Payne-Callender at all times was and is a detective in
the Crimes Against Children Unit.

While Payne-Callender was out on temporary medical leave, Gavin routinely and intentionally
sent emails to all detectives in the Human Trafficking Unit and the Crimes Against Children
Unit on case-related and investigatory matters, Gavin systematically left Payne-Callender off
of the email distribution chain of division- and case-specific emails despite Payne-Callender’s
assignment to the Crimes Against Children Unit.

Payne-Callender knows this to be true because other detectives within the Crimes Against
Children Unit forwarded Payne-Callender emails sent by Gavin that did not include her as a

recipient.

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As pretext for her discrimination and retaliation against Payne-Callender, Gavin claims she
also routinely and deliberately failed to include in her email distribution list Detective Mark
Marengi, “a white male” who was also out on leave.

Gavin continues her pattern of discriminatory and retaliatory conduct creating a hostile
workplace within which Payne-Callender is required to work — even when Payne-Callender
was on temporary leave. Gavin’s deliberate, bad faith act of leaving Payne-Callender off of
official Boston Police communications actively prohibited Payne-Callender from keeping
abreast of department directives and severely disadvantaged Payne-Callender as she returned
to work, Without having been kept apprised of developments within the Crimes Against
Children Unit, Payne-Callender’s job performance and continued success as a Boston Police
detective is now at risk.

Gavin’s retaliatory conduct is a direct result of Payne-Callender’s protected conduct, namely
cooperating with the Internal Affairs investigation into the competing Gavin and Capt. Det.
Hayes complaints and Payne-Callender’s Complaint against Gavin,

Payne-Callender’s 2018 Massachusetts Commission Against Discrimination Complaint
Because the Boston Police refused to provide any information about Payne-Cailender’s
pending 2017 Internal Affairs Complait and failed to protect her from Gavin, Payne-Callender
filed a Complaint with the Massachusetts Commission Against Discrimination (“MCAD”) on
June 28, 2018. See Exhibit A, June 28, 2018 Complaint, MCAD Docket No. 18BEM01930,
The Boston Police filed its Position Statement/Request to Dismiss on September 12, 2018.

In its Position Statement, the Boston Police revealed, for the first time, that nine interviews
and various investigative reports have been taken in response to Payne-Callender’s 2017

Internal Affairs Complaint.

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The Boston Police deliberately discriminated and retaliated against Payne-Callender by
withholding this information.

Since the Boston Police filed its Position Statement/Request to Dismiss, it has engaged in
further discriminatory, harassing and retaliatory conduct.

On or about September 21, 2018, Payne-Callender was commanded to submit to interrogation
by the Internal Affairs Division of the Boston Police.

On October 4, 2018, Payne-Callender was interrogated for hours by Lt. Det. McEachern on
the specific matters giving rise to the allegations contained in the MCAD Complaint.

The Boston Police ordered this interrogation in conjunction with IAD Complaint JAD2018-
0354, its newly opened, retaliatory investigation into Payne-Callender’s MCAD Complaint.
Payne-Callender requested an official transcript of that interview on October 18, November 1,
and November 5, 2018. Exhibit B, Emails from Kent W. McKinley, Esq. to the Boston Police
Public Record Request Department dated October 18, November |, and November 5, 2018.
On October 23, 2018, Payne-Callender also requested an official transcript of her September
19, 2017 interview regarding the 2017 Internal Affairs Complaint she filed, Complaint
TAD2017-0409. Exhibit C, Email from Kent W. McKinley, Esq. to the Boston Police Public
Record Request Department dated October 23, 2018.

The BPD finally responded on November 5, 2018, declining to produce either of the requested
transcripts. Exhibit D, Email from Jennifer Samson, Legal Assistant at the Boston Police
Department to Kent W. McKinley, Esq. dated November 5, 2018. The purported basis for
withholding Payne-Callender’s own statements was that “the investigations of the two Internal
Affairs cases involving Det. Payne-Callender are pending. These cases are identified as

IAD2017-0409 and IAD2018-0354. Accordingly, the contents of these files, including Det.

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Payne-Callender’s interviews, are not subject to disclosure under the investigatory exemption
of the public records law.”

The Boston Police took almost three weeks to assert a boilerplate Freedom of Information Act
excuse to withhold Payne-Callender’s own sworn statements.

On November 7, 2018, Payne-Callender submitted an additional request for the transcripts to
the Boston Police, this time offering to enter into a confidentiality order to maintain the
supposed confidential nature of testimony therein. Exhibit E, Email from Kent W. McKinley,
Esq. to Jennifer Samson dated November 7, 2018.

Payne-Callender received no response to this offer to maintain the supposed confidential nature
of testimony, despite no obligation on the part of Payne-Callender to do so.

On or about February 12, 2019, Internal Affairs Investigator Sergeant Juan Estevez, called
Payne-Callender and asked if she had any additional facts to add to her MCAD Complaint
because he was going to start interviewing people.

Set. Estevez’s attempt to garner evidence directly from Payne-Callender about the allegations
in her MCAD Complaint while the case is still pending before the MCAD, is continued
harassment (in addition to the October, 2018 interrogation), intimidation, retaliation, and an
attempt to coerce Payne-Callender into dismissing her MCAD Complaint.

The Boston Police are retaliating against Payne-Callender because she filed her MCAD
Complaint.

The “investigation” by the Boston Police into Payne-Callender’s MCAD Complaint is a

sham undertaken to harass and retaliate against her for filing the MCAD Complaint.

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102, The Boston Police continue to engage in discriminatory, harassing, intimidating and
retaliatory conduct towards Payne-Callender and violate Payne-Callender’s right to be free
from harassment and discrimination.

2019 Return to Work

103. Payne-Callender returned to work in the Crimes Against Children Unit from medical leave
on February 11, 2019.

104. In complete disregard for Payne-Callender’s formal Internal Affairs Complaint against
Gavin; her MCAD Complaint against Gavin and the Boston Police; and the Boston Police
Internal Affairs investigation into Payne-Callender’s MCAD Complaint, the Boston Police
further retaliated against Payne-Callender by allowing Gavin to remain Payne-Callender’s
direct supervisor.

105. Payne-Callender’s new partner in the Crimes Against Children Unit is Detective John
Noberini,

106, Inanact of harassment and retaliation, Det. Noberini issued a warning to Payne-Callender
that if asked by Gavin, any information Payne-Callender disclosed to him would be reported
to her.

107. Upon information and belief, Gavin deliberately avoided entering the office Payne-
Callender shares with Det. Noberini now that Payne-Callender has returned to work.

108. This behavior on the part of Gavin prevented Payne-Callender from effectively reporting
significant, case-related information “up the chain of command” (Gavin’s pretext for
transferring Payne-Callender out of the Human Trafficking Unit in 2011, see ff 18-28, supra)
and exposed Payne-Callender to the risk of discipline for failing to adhere to department

policies and directives.

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109. Gavin’s most recent actions are a part of the long and continuous history of harassing and
discriminatory behavior creating a hostile workplace within which Payne-Callender is required
to work.

110. On February 13, 2019, Payne-Callender submitted the standard, one-page Form 2196
“Request for Permission to Hold Off-Duty Employment,” as required by Boston Police Rule
102, § 33, to serve as an educator and presenter with Renz Consulting, LLC, teaching criminal
justice curriculum on an as-needed basis.

Iti. Unlike the last seven times Payne-Callender sought off-duty employment, the Boston
Police Legal Department required her to submit an additional Form 26 Report — the same type
of narrative report Payne-Callender was obligated to submit in response to the 2017 Civilian
Incident.

112. The Legal Department has never been involved in Payne-Callender’s requests for
employment outside of the Department. Boston Police Rule 102, § 33 explicitly states that
such a request is to be approved by an employee’s Commanding Officer/Director, the Bureau
Chief, and the Police Commissioner.

113. The Boston Police Legal Department’s involvement in Payne-Callender’s off-duty
employment request is an act of harassment and retaliation designed to intimidate and
discourage Payne-Callender from seeking protection from discrimination on the part of Gavin
and the Boston Police. The Boston Police are acting to make every part of Payne-Callender’s
employment unbearable, down to the smallest opportunity to further serve the community,

114. All of the foregoing actions on the part of Gavin and the Boston Police are part of a
continuing course of conduct amounting to years of discrimination, retaliation, harassment and

abuse sustained by Payne-Callender,

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Count I
Discrimination on the Basis of Race, Gender and Age
(as against Donna M. Gavin)
Mass. Gen. Laws ce. 151B, § 4 and 29 U.S.C. § 631(a)

115. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs | through 114.

116. The foregoing severe, pervasive race, gender and age based discrimination by Gavin
created a hostile work environment and deprived Payne-Callender of opportunities to advance
her career that, based on merit, Payne-Callender was supremely qualified for.

117. Gavin's actions have violated Payne-Callender’s right to be free from race, gender and age
based discrimination in her place of work.

118. Asaresult of such race, gender and age based discrimination, Payne-Callender suffered
extreme mental and emotional distress.

119. Asa result of such race, gender and age based discrimination, Payne-Callender has lost
earnings and her earning capacity has been significantly reduced.

Count Il
Discrimination on the Basis of Race, Gender and Age
(as against the City of Boston Police Department)
Mass. Gen, Laws c. 1S1B, § 4 and 29 U.S.C. § 631(a)

120. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs | through 119.

121. At all times relevant herein, Gavin was and is a supervisor with the Boston Police vested
with supervisory authority.

122. The foregoing severe, pervasive race, gender and age based discrimination maintained

and/or permitted to be maintained in the workplace by the Boston Police created a hostile work

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environment and deprived Payne-Callender of opportunities to advance her career that, based
on merit, Payne-Callender was supremely qualified for.

123, The Boston Police knew or should have known of the race, gender and age based
discriminatory conduct towards Payne-Callender and failed to take remedial action.

124. The actions of the Boston Police have violated Payne-Callender’s right to be free from
race, gender and age based discrimination in the workplace.

125. As aresult of such race, gender and age based discrimination, Payne-Callender suffered
extreme mental and emotional distress.

126. Asa result of such race, gender and age based discrimination, Payne-Callender has lost
earnings and her earning capacity has been significantly reduced.

Count HI
Hostile Workplace

(as against Donna M. Gavin)
Mass. Gen. Laws ¢. ISIB, § 4

 

127. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs | through 126.

128. The foregoing severe, pervasive harassment, discrimination and abuse on the part of Gavin
has aggregated over time creating a hostile work environment and unreasonably interfered and
continues to interfere with Payne-Callender’s work performance and career trajectory.

129. Gavin’s actions have violated Payne-Callender’s right to be free of abuse, harassment and
discrimination in the workplace.

130. As a result of such abusive, harassing and discriminatory conduct, Payne-Callender
suffered extreme mental and emotional distress.

131. As aresult of such abusive, harassing and discriminatory conduct, Payne-Callender has

lost earnings and her earning capacity has been significantly reduced.

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Count [IV
Hostile Workplace
(as against the City of Boston Police Department)
Mass. Gen. Laws c. ISITB, § 4

132. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs | through 131.

133. At all times relevant herein, Gavin was and is a supervisor with the Boston Police vested
with supervisory authority.

134. The foregoing severe, pervasive harassment, discrimination and abuse on the part of Gavin
and the Boston Police have aggregated over time creating a hostile work environment and
unreasonably interfered and continues to interfere with Payne-Callender’s work performance
and career trajectory.

135. Gavin’s actions have violated Payne-Callender’s right to be free of abuse, harassment and
discrimination in the workplace.

136. The Boston Police knew or should have known of the harassing, discriminatory and
abusive conduct towards Payne-Callender and failed to take remedial action.

137. As aresult of such abusive, harassing and discriminatory conduct on the part of Gavin in
her supervisory role, the Boston Police are strictly liable for Gavin’s conduct towards Payne-
Callender,

138. The actions of the Boston Police have violated Payne-Callender’s right to be free of abuse,
harassment and discrimination in the workplace.

139. As a result of such abusive, harassing and discriminatory conduct, Payne-Callender
suffered extreme mental and emotional distress.

140. As a result of such abusive, harassing and discriminatory conduct, Payne-Callender has

lost earnings and her earning capacity has been significantly reduced.

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Count V
Retaliation
{as against Donna M. Gavin and the City of Boston Police Department)
Mass. Gen. Laws c. 151B, $4

i41, Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs | through 140.

142. At all times relevant herein, Gavin was and is a supervisor with the Boston Police vested
with supervisory authority.

143. Gavin retaliated against Payne-Callender in violation of Mass. Gen. Laws c. 151B, § 4.

144. The Boston Police knew or should have known of Gavin’s retaliatory conduct towards
Payne-Callender and failed to take remedial action.

145. Gavin engaged in retaliatory conduct against Payne-Callender because she testified in
cooperation with the Internal Affairs investigation of the competing Gavin and Capt. Det.
Hayes complaints.

146, Payne-Callender’s testimony regarding the competing Gavin and Capt. Det. Hayes
complaints was legally protected conduct as defined by Mass. Gen. Laws c. 151B.

147. After Payne-Callender testified, she suffered adverse employment action at the hands of
Gavin, including, but not limited to, Gavin using her position of authority to attempt initiation
of disciplinary action against Payne-Callender as a result of the 2017 Civilian Incident; and,
Gavin using her position of authority to attempt to limit Payne-Callender’s ability to advance
her career and obtain a promotion,

148. This adverse change in Payne-Callender’s employment created a material disadvantage to
her employment with the Boston Police.

149. Gavin continues to retaliate against Payne-Callender after she filed her harassment claim

against Gavin on September 8, 2017 and her MCAD Complaint on June 28, 2018. Gavin

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actively prevented Payne-Caliender from utilizing the “chain of command” by avoiding Payne-
Callender and her office, a “complaint” Gavin has lodged against Payne-Callender time and
time again.

150. Gavin’s retaliatory acts directly sabotaged Payne-Callender’s work performance and
opportunities for career advancement.

151. As a result of such retaliatory conduct, Payne-Callender suffered and continues to suffer
extreme mental and emotional distress,

152. As aresult of such retaliatory conduct, Payne-Callender has lost earnings and her earning
capacity has been significantly reduced.

Count VI

Retaliation
(as against the City of Boston Police Department)
Mass. Gen. Laws c. 151B, § 4

 

153. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs 1 through 152.

154. The Boston Police retaliated against Payne-Callender in violation of Mass, Gen. Laws c.
151B, § 4.

155. The Boston Police engaged in retaliatory conduct against Payne-Callender because she
filed a complaint with the MCAD.

156. In filing her MCAD Complaint, Payne-Callender engaged in legally protected conduct as
defined by Mass. Gen. Laws c. 151B.

157. After Payne-Callender filed the MCAD Complaint she suffered adverse employment
action at the hands of the Boston Police, including, but not limited to, unreasonably delaying
the investigation into her 2017 Internal Affairs Complaint; an unwarranted Internal Affairs

Complaint against Payne-Callender for exercising her right to be free from discrimination;

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takings steps to discourage Payne-Callender from seeking off-duty employment; and, keeping
her under the supervision of Gavin.

158. These adverse changes in Payne-Callender’s employment created a material disadvantage
to her employment with the Boston Police,

159. As aresult of such retaliatory conduct, Payne-Callender suffered and continues to suffer
extreme mental and emotional distress.

160. As aresult of such retaliatory conduct, Payne-Callender has lost earnings and her earning
capacity has been significantly reduced.

Count VI
Discrimination Based Upon Sham Investigation

into Payne-Callender’s 2017 Internal Affairs Complaint
(as against the City of Boston Police Department)
Mass. Gen. Laws c. 151B, § 4(4A)

161. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs 1 through 160.

162. Atall times relevant herein, Gavin was and is a supervisor with the Boston Police vested
with supervisory authority,

163. The Boston Police discriminated against Payne-Callender in violation of Mass. Gen. Laws
c, 151B, § 444A), because it knew or should have known of Gavin’s harassing, discriminatory,
abusive and retaliatory conduct towards Payne-Callender and yet intentionally failed to take
adequate steps to investigate and remedy the situation between Payne-Callender and Gavin —
even after Payne-Callender filed her Internal Affairs Complaint.

164. The Boston Police continue to engage in discriminatory conduct towards Payne-Callender

by failing to conduct a meaningful investigation into, and issuing amy finding on, her

September 8, 2017 Internal Affairs Complaint against Gavin. The only “investigation” that

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the Boston Police have conducted to-date amounts to nothing more than a sham delay scheme
designed to give itself room to negotiate a separately filed lawsuit by Gavin herself; this
opposed to a fair and “by the book” look into Payne-Callender’s claims of discrimination
against Gavin — to the sole detriment of Payne-Callender.

165. This sham investigation interferes with Payne-Callender’s right to be protected under
Mass. Gen. Laws c. 151B, § 4(4A) from discrimination due to her exercise of her right to
complain about Gavin’s actions.

166. The failure to enforce Department rules and policies equally against all employees has
resulted in disparate and discriminatory treatment of Payne-Callender.

167. ‘The failure to fully investigate and protect Payne-Callender from Gavin’s harassing and
retaliatory conduct violates Mass. Gen, Laws c. 151B, § 4(4A).

168. As a result of such sham investigation, Payne-Callender suffered extreme mental and
emotional distress.

169. Asaresult of such sham investigation, Payne-Callender has lost earnings and her earning
capacity has been significantly reduced.

Count VII
Discrimination Based Upon Sham Investigation
into Payne-Callender’s 2018 MCAD Complaint
(as against the City of Boston Police Department)
Mass. Gen, Laws ec. 151B, § 4(4A)}

170. Payne-Callender alleges and incorporates by reference the allegations set forth in

Paragraphs 1 through 169.

171. The Boston Police discriminated against Payne-Callender in violation of Mass. Gen. Laws

c, 151B, § 4(4A), because its newly opened “investigation” into Payne-Callender’s MCAD

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Complaint is a sham undertaken to harass, discriminate, abuse and retaliate against her for
filing the MCAD Complaint. |

172. The real reason behind the October, 2018 interrogation commanded by the Internal Affairs
Division was to harass, discriminate, abuse and retaliate against Payne-Callender in an effort
to coerce her to drop the MCAD Complaint.

173. The real reason behind Sgt. Estevez’s attempt to re-interrogate Payne-Callender was to
harass, discriminate, abuse and retaliate against Payne-Callender in an additional effort to
coerce her to drop the MCAD Complaint.

174. The pretextual, sham “investigation” into Payne-Callender MCAD Complaint violates
Mass. Gen. Laws c. 151B, § 4(4A).

175, This sham investigation interferes with Payne-Callender’s right to be protected under
Mass. Gen. Laws c. 151B, § 4(4A) from discrimination due to her exercise of her right to
complain about Gavin’s and the Boston Police’s actions.

176. As a result of such sham investigation, Payne-Callender suffered extreme mental and
emotional distress.

177. Asaresult of such sham investigation, Payne-Callender has lost earnings and her earning
capacity has been significantly reduced,

Count IX
Intentional Infliction of Emotional Distress
(as against Donna M. Gavin and the City of Boston Police Department)

178. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs | through 177.

179. The Defendants intended to cause Payne-Callender emotional distress by harassing,

discriminating, abusing and retaliating against her as described herein.

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180. The Defendants acted — and continue to act — in an extreme and outrageous way, in a
manner that can only be described as beyond the bounds of decency and utterly intolerable in
a civilized community.

181. The intentional acts and omissions of the Defendants are the direct cause of Payne-
Callender’s extreme emotional distress,

182. As a result of Defendants’ intentional infliction of extreme emotional distress, Payne-
Callender suffered damages.

Count X
Negligent Infliction of Emotional Distress
(as against Donna M. Gavin and the City of Boston Police Department)

183, Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs 1 through 182.

184. The Defendants knew or should have known that emotional distress would result from their
harassing, discriminatory, abusive and retaliatory actions against Payne-Callender as described
herein.

185. The Defendants’ conduct alleged herein was extreme and outrageous.

186. The Defendants’ conduct caused Payne-Callender severe emotional distress.

187. Payne-Callender has suffered severe emotional distress manifesting in overwhelming
physical stress, anxiety, fatigue and depression, which negatively impact Payne-Callender’s
daily standard of living,

188. As a result of Defendants’ negligent infliction of severe emotional distress, Payne-

Callender suffered damages.

JURY DEMAND

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The Plaintif¥ demands a trial by jury on all issues raiscd herein.

Dated April (1, 2019,

The Plsintiff,
G. RENEE PAYNE-CALLENDER,

By her Attorneys,

Muelty (eupee:

Jeremy Y. Weltman (BBO No. 982293)

jweltman@hermesnetburn.co

Michelle M. Byers (RBO No. 684836)

robyers@licrmesnetbum.com

HERMES, NETBURN, O'CONNOR &
SPEARING, P.C.

265 Franklin Street, Seventh Floor

Boston, Massachusetts 02110-3113

(617) 728-0050 (tel)

(617) 728-0052 (fax)

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1, G. Renee Payne-Callender, Plaintiff in the above-captioned matter, hereby certify under
the pains and penalties of perjury that I have fully read the within Verified Complaint and Jury
Demand and that the facts stated therein are true and —yeteN the best of my knowledge.

Dated: 447.20) {

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G. Renee Payne-Calfends

 

 

 
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EXHIBIT A

 
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a7

The Commonwealth of Massachusetts
Commission Against Discrimination
One Ashburton Place , Boston, MA. 02108

Phone: (617) 994-6000 Fax: (617) 994-6024

 

MCAD DOCKET NUMBER: |18BEM01930 BEOC/HUD CHARGE NUMBER: 16C-2013-02035
FILING DATE: 06/28/18  ~ VIOLATION DATE: 07/12/18

Name of Ageprieved Person or Organization:

G, Renee Payne-Callender

300 Ashmont Street

Boston, MA 02114 .

_ Primary Phone: (617)282-3429 ext,

 

 

 

Named is the employer, labor organization, employment agency, or state/local government agency who discriminated
against me: ,
City of Boston Police Department

Aftin.: Director of Human Resources
One Schroeder Plaza
Boston, MA 02120

Donna M Gavin

City of Boston Police Department
Attn.: Director of Human Resources
One Schroeder Plaza

Boston, MA 02120

No. of Employees: 25+
Work Location: Boston
Cause of Discrimination based on:
Age, Sex, Race, Retaliation,

The particulars are;
I, G. Renee Payne-Callender, the Complainant believe that I was discriminated against by City of Boston Police |

Department, Denna M Gavin, on the basis of Age, Sex, Race, Color, Retaliation. This is in violation of M.G.L. c. 151B
Section 4 Paragraph 1, 1B, 4,4A and ADEA, Title VIL.

 

Please see attached.

I hereby verify, under the pains and penalties of perjury, that 1 have read this complaint and the allegations contained herein
are true to the best of my knowledge. .

 

(Signature of Complainant)

MCAD Docket Number 18BEM01930, Complaint,

 

 
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MASSACHUSETTS COMMISSION AGAINST DISCREMINATION

 

 

)

G. RENEE PAYNE-CALLENDER, )
)

Plaintiff, )

)

v. )
)

DONNA M. GAVIN $ and )
CITY OF BOSTON POLICE DEPARTMENT, )
)

Defendants, )

)

VERIFIED COMPLAINT

 

This case concerns discrimination, retaliation, and harassment suffered by the Plaintiff,
Detective G. Renee Payne-Callender (“Payne-Callender”), at the hands of the Defendants,
Lieutenant Detective Donna M. Gavin (“Gavin”) and the City of Boston Police Department.
Payne-Callender, an African-American woman, has been an officer and detective in the
predominantly white male Boston Police Department for almost 33 years. She has an exemplary
record of victim advocacy, resilience in her fight against human trafficking and crimes against
children, and investment in the neighborhoods within the City of Boston.

Payne-Callender began her career in 1985 as a police dispatcher. By the end of 1986, she
attained the rank of police officer; she was promoted to detective in 1998. Payne-Callender’s
exemplary career trajectory continued over the next decade; she investigated domestic violence
allegations for the Sexual Assault Unit, she worked. alongside the FBI in the Bureau of Field
Services, and in 2007 she was transferred to the Boston Police Department Family Justice
Center’s prestigious Human Trafficking Unit. From 2007 to 2009, Payne-Callender thrived in

the Human Trafficking Unit. However, everything changed in 2009 when then-Sergeant

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Detective Donna Gavin joined the Human Trafficking Unit as Payne-Callender’s supervising
Sergeant. All of a sudden, Payne-Callender’s positive career progression ceased.

In her time under Gavin, Payne-Callender was continuously subjected to discrimination
on the basis of race, gender, and age, which resulted in a hostile work environment, Payne-
Callender brought the discrimination to the Boston Police Department’s attention, yet no action
was taken to remediate the situation; instead, it was pushed under the proverbial rug. In 2011,
Gavin transferred Payne-Callender out of the Human Trafficking Unit even though Payne-
Callender was the Unit’s most qualified detective. Payne-Callender was eventually te-assigned
to the Crimes Against Children Unit, where she was no longer under Gavin’s direct supervision.
However, because the Crimes Against Children Unit was, along with the Human Trafficking
Unit, part of the Family Justice Center, Payne-Callender remained under the purview of Gavin’s
influence.

Payne-Callender’s complaints about Gavin, the Boston Police Department Family Justice
Center’s sole female Lieutenant Detective, and the public face of the Police Department’s
“integration” of women into the higher ranks of the force, permanently damaged Payne-
Callender’s career. Further, because of Gavin’s influence throughout the Family Justice Center,
and the close proximity within which the Human Trafficking Unit and the Crimes Against
Children Unit work, Payne-Callender continues to face a hostile work environment due to racial,
gender, and age discrimination at the hands of both Gavin and the Boston Police Department.

In addition, the City of Boston Police Department has known of Gavin’s discrimination
towards Payne-Callender and has taken no steps to protect her, choosing instead, to turn a blind
eye. The minimal effort the City of Boston Police Department has placed into investigating

Payne-Callender’s allegations amounts to a sham investigation designed to protect itself and

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Gavin and cause deliberate harm to Payne-Callender. Payne-Callender, therefore, brings this
action seeking compensatory and other damages, as further outlined herein.
PARTIES

1. The Plaintiff, Detective G. Renee Payne-Callender (“Payne-Callender”), is an individual
residing at 300 Ashmont Street, Dorchester, Suffolk County, MA 01214. Payne-Callender is
a fifty-five year old African-American woman. At all relevant times herein, Payne-Callender
is and has been a Detective with the City of Boston Police Department.

2, The Defendant, Lieutenant Detective Donna M. Gavin (“Gavin”), is an individual residing at
88 Wharf Street, Milton, Norfolk County, MA 02186. Gavin is employed by Defendant City
of Boston Police Department as a Lieutenant Detective.

3. The Defendant, City of Boston Police Department (“Boston Police”), is a department with
the City of Boston with its headquarters located at One Schroeder Plaza, Roxbury Crossing,
Suffolk County, MA 02120.

JURISDICTION AND VENUE

4, Jurisdiction is conferred upon this Court pursuant to the provisions of Mass. Gen. Laws c.

212, §§ 3 and 4. Venue in Suffolk County is proper pursuant to Mass. Gen. Laws c. 223, § 1.
FACTS

5. Payne-Callender is employed as a detective with the Boston Police Department. She has
been employed by the Boston Police for almost 33 years. She has served as a detective in the
Bureau of Field Services, the Bureau of Investigative Services, the Bureau of Professional
Standards and Development, and the Family Justice Center. Within the Family Justice

Center, Payne-Callender has worked as a detective in the Domestic Violence Unit, the Sexual

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Assault Unit, and the Human Trafficking Unit. Payne-Callender is currently a detective in
the Crimes Against Children Unit, which is also within the Family Justice Center.

6. Payne-Callender has received numerous accolades and commendations in the course of her
career, She bas been recognized for, among other things, her work with the Numan
Trafficking Unit, assisting the Suffolk County District Attorney’s Office with the successful
prosecution of serious criminal matters, and her dedication to outreach and programs to
improve the Boston community. Payne-Callender’s personnel record reflects her exemplary
work performance and her efforts to seek out continuing education to better perform her
duties as a Boston Police detective.

7. On December 15, 2007, Payne-Callender was assigned to the Human Trafficking Unit of the
Boston Police Bureau of Investigative Services. While in the Human Trafficking Unit, she
held the role of Human Trafficking Task Force Officer with the FBI with Special-Duty U.S.
Marshal ability. At all times relevant herein, Payne-Callender was and is the most qualified

detective within the Boston Police to hold these positions.

 

8. On July 18, 2009, the Defendant Donna M. Gavin, holding at that time the rank of Sergeant
Detective, was reassigned from the Sexual Assault Unit to the Family Justice Division (both

within the Bureau of Investigative Services), Gavin became Payne-Callender’s immediate

 

supervisor. Gavin’s work schedule was Monday through Friday, 7:30 a.m. to 4:00 p.m.;
Payne-Callender’s schedule was Monday through Friday, 4:00 p.m. to 11:45 p.m. Payne-
Callender had no direct supervisor while on duty. Without a direct supervisor, Payne-
Callender was required from time to time to call Gavin on her department-issued cell phone.

Gavin would not answer Payne-Callender’s calls, all of which related to active criminal

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investigations. By ignoring Payne-Callender’s calls, Gavin made it impossible for Payne-
Callender to adequately perform her job duties and adhere to reporting requirements,
The City Councilor Incident

9, On Friday, September 24, 2010, Payne-Callender, while working in the Human Trafficking
Unit, received a telephone call from City Councilor Ayanna Pressley stating she was
approached by a black male regarding prostitution at the Back Bay MBTA station, Payne-
Callender called Gavin numerous times on her cellphone, but Gavin did not answer. Because
Gavin did not answer, Payne-Callender contacted Sergeant Detective Daniel Keeler and
informed him of the telephone call she had received from City Councilor Pressley. Sgt. Det.
Keeler, Boston Police detectives from District D-4, and Payne-Callender searched the Back
Bay MBTA station and did not locate the reporting party.

10. Despite not answering the numerous telephone calls from Payne-Callender, on Saturday,
September 25, 2010, Gavin contacted Payne-Callender and accused her of failing to follow
the protocol for notifying her supervisor.

11.On Monday, September 27, 2010, Gavin brought Payne-Caliender before Deputy
Superintendent Kelly Nee accusing Payne-Callender of failing to notify Gavin of Councilor
Pressley’s encounter. Payne-Callender was reprimanded and directed to notify Gavin of all
incidents immediately. The fact that Gavin did not answer her cell phone when Payne-
Callender cailed was not addressed,

12. Gavin’s accusations humiliated Payne-Callender in front of Dep. Sup. Nee and started what
has become a long and continuous history of Gavin’s harassing and discriminatory behavior

creating a hostile workplace within which Payne-Callender was required to work.

 

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The State Police Incident

13.On Thursday, May 19, 2011, Payne-Callender received a telephone call from the
Massachusetts State Police asking for assistance from the Boston Police Human Trafficking
Unit with responding to an allegation of sex trafficking of a young female at the Best
Western Inn in Quincy, Massachusetts. Payne-Callender was out-of-state investigating
another matter and could not respond.

14. Heeding Dep. Sup. Nee and Gavin’s directive that Gavin must be immediately notified of all
incidents, Payne-Callender directed the State Police to call Gavin’s cellphone directly and
provided her phone number.

15, On Friday, May 20, 2011, Payne-Callender told Gavin she directed the State Police to call
Gavin directly about the sex trafficking incident. Gavin told Payne-Callender she did not
speak with the State Police.

16, On Saturday, May 21, 2011, Gavin called Payne-Callender and questioned her about the sex
trafficking incident. Payne-Callender again told Gavin she directed the State Police to call
Gavin directly.

17, On Wednesday, May 25, 2011, Gavin brought Payne-Callender before Captain Detective
Mark Hayes accusing her of failing to notify Gavin of the sex trafficking incident, Gavin
stated she could not manage Payne-Callender. Gavin further stated she did not like Payne-
Callender.

18. Again, Gavin humiliated Payne-Callender with baseless accusations, this time in front of
Capt. Det. Hayes.

19, Despite Gavin’s clear animosity and dislike for Payne-Callender, Capt. Det, Hayes did

nothing to protect Payne-Callender from Gavin’s harassment or relieve her from reporting

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directly to Gavin. Instead, Gavin was allowed to transfer Payne-Callender out of the Human.
Trafficking Unit in retaliation for Gavin disclosing to Hayes that it was Gavin that failed to
answer her phone that was the problem — not Payne-Callender’s alleged failure to report.
Gavin did not provide a reasonable or nondiscriminatory basis why Payne-Callender was
being transferred or to which Unit she would go; however, it became increasingly clear to
Payne-Callender that Gavin harbored discriminatory animus toward her on the basis of race,
gender and age.

Payne-Callender met with Dep. Sup. Nee on June 1, 2011 to determine where Payne-
Callender would be transferred.

Payne-Callender requested a transfer to the Special Investigations Unit, a Unit with zero
Aftican-American female detectives, and was simply told “no.” No further reason was
given.

After being denied a transfer to the Special Investigations Unit, Payne-Callender requested to
be transferred to the Crimes Against Children Unit, which is housed in the same building as
Gavin’s Human Trafficking Unit.

Gavin tried to prevent Payne-Callender from working in the same building by pressuring
Dep. Sup. Nee into reassigning Payne-Callender to another District rather than a Unit in the
Family Justice Center. In pressuring Dep. Sup. Nee, Gavin acted to prevent Payne-Callender
from holding a position within the Boston Police commensurate with her training and
experience,

Gavin’s actions were an attempt to materially and objectively change the conditions of

Payne-Callender’s employment, subjecting her to adverse employment conditions and

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marginalizing Payne-Callender’s position within the Boston Police for no other reason than
because of her gender, race and age.
Gavin’s conduct was and is a part of an ongoing pattern of harassing and discriminatory
behavior creating a hostile workplace within which Payne-Callender was required to work,
Gavin’s ongoing harassment and discrimination caused Payne-Callender to dread coming to
work each day.

2014 Unreasonable Withholding of Training Incident
On August 26, 2014, Payne-Callender submitted a request to Capt. Det. Hayes to attend the
“Human Trafficking Train the Trainer” professional development seminar put on by the
Municipal Police Training Committee on September 8, 2014. Payne-Callender made this
request because she was the most knowledgeable and experienced detective in the area of
human trafficking at the Boston Police and would greatly benefit from continuing education
and training in the field.
Gavin attempted to block Payne-Callender from attending the training seminar for no valid
reason other than her discriminatory animus toward Payne-Callender.
As a pretext for her discrimination of Payne-Callender, Gavin argued to Capt. Det, Hayes
that Payne-Callender could not go to the training seminar because she was not a member of
the Human Trafficking Unit anymore.
Capt. Det. Hayes recognized that while Payne-Callender did not work in the Human
Trafficking Unit, there were no other detectives in the Human Trafficking Unit better
qualified than her, and granted her request to apply to and attend the seminar.
Gavin’s blatant, intentional discrimination unreasonably interfered with Payne-Callender’s

ability to do her job.

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Gavin’s conduct in this instance was and is part of an ongoing pattern of discriminatory
behavior creating a hostile workplace within which Payne-Callender was required to work,
and about which the Boston Police Department did nothing to address.
2014 Sergeant’s Exam

Tn an attempt to advance her career and solidify a well-earned promotion, Payne-Callender
registered to take the Boston Police Department’s sergeant’s exam in 2014.
Due to a death in her family, Payne-Callender had to travel outside the country to attend
funeral services at the time in which the sergeant’s exam was scheduled to take place.
Payne-Callender petitioned the Boston Police to take the exam early and her request was
denied. Payne-Callender was told by former Director of Human Resources for the Boston
Police, Edward P, Callahan, that the only police officers allowed to take the sergeant’s exam
at a different time were those that could not take the test due to active duty military
commitments outside of the country.
Payne-Callender subsequently learned that the Boston Police granted the requests of two
other male officers to take the sergeant’s exam at a different time, neither request being based
on an active duty military commitment out of the country.

2017 Human Trafficking and Exploitation Training
The Boston Police work in conjunction with the Suffolk County District Attorney’s Office to
investigate and prosecute human trafficking and exploitation crimes. On December 21,
2016, Maryrose Anthes, Chief of the Human Trafficking and Exploitation Unit within the
District Attorney’s Office, sent an email to 17 people requesting that they save the date of

February 15, 2017, for a free human trafficking and exploitation training session involving

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the District Attorney’s Office and certain Boston Police employees. Payne-Callender was a
recipient of this email.

37, On February 14, 2017, the day before the training, Gavin sent an email to Payne-Callender
stating “Renee, Please disregard the training that you were sent a save the date for. Your
attendance is not required.” Gavin did not explain why she instructed Payne-Callender not to
attend the free training.

38. On February 15, 2017, Payne-Callender and Detective Michael Sullivan, another detective in
the Crimes Against Children Unit, notified their immediate supervisor Sergeant Detective
Brian Miller and Capt, Det. Hayes that Gavin was prohibiting them from attending the free
training with no given reason.

39, Upon information and belief, the training attendees were told that there was not enough space
in the training room for Payne-Callender and Det. Sullivan to participate, This excuse was
not true.

40. Gavin’s discrimination of Payne-Callender on the basis of her age, race and gender
prohibited Payne-Callender from engaging in training designed to improve her performance
as a detective and increase her chance for promotion. Gavin’s act of prohibiting Payne-
Callender from attending the free training was not addressed by Sgt. Det. Miller, Capt. Det.
Hayes, or any other Boston Police supervisor; rather, it was again swept under the proverbial
rug.

41. Gavin’s conduct in this instance was and is a part of an ongoing pattern of discrimination
against Payne-Callender on the basis of her race, gender and age. Gavin’s continuous

discriminatory conduct towards Payne-Callender created a hostile work environment.

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2017 Gavin and Captain Detective Hayes Complaints

42. On April 24, 2017, Gavin filed a formal complaint with Boston Police Internal Affairs
against Capt. Det. Hayes for harassment, hostile work environment, gender discrimination,
and retaliation.

43. On May 16, 2017, Capt. Det. Hayes filed a formal complaint with Internal Affairs against
Gavin for neglect of duty and directives or orders.

44, On May 17, 2107, Gavin was removed from the chain of command and instructed to stop
reporting to Capt. Det. Hayes and to report to Deputy Superintendent Norma Ayala. It is the
customary and usual practice of the Boston Police to remove a complainant or the aggressor
from the chain of command once a complaint is filed.

45. During the course of the investigation into the competing complaints, Sergeant Detective
Richard Dahill interviewed Payne-Callender about the events underlying the complaints.
The interview was audio recorded. During the interview, Payne-Callender expressed her fear
that Gavin would retaliate against her for cooperating with the investigation.

46, Payne-Callender’s fear of retaliation was never addressed.

2017 Civilian Incident

47, Gavin’s continuous discrimination and retaliation of Payne-Callender came to a head in
August and September, 2017.

48.On August 15, 2017, a virus was detected on Payne-Callender’s work computer. She
notified the Boston Police’s Information Systems Group (“ISG”) and an ISG member
serviced the computer the following morning.

49. On August 16, 2017, after waiting two hours at the direction of the ISG member, Payne-

Callender restarted her computer. At approximately 1:34 p.m., Sergeant Detective Thomas

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Lembo walked into Payne-Callender’s office and directed her to unplug her computer. Sgt.
Det. Lembo then handed her a printed email addressed to civilian clerk Janet Dougherty of

the Human Trafficking Unit. The email, dated August 16, 2017 and timestamped 12:34 p.m.,

 

asked Ms. Dougherty to disconnect Payne-Callender’s computer from the system due to the
presence of a vires. Payne-Callender called ISG and learned that the email to Ms. Dougherty

was a second request to unplug her computer because of the presence of a virus.

 

50. Given the nature of the email’s importance, Payne-Callender requested and received
permission from Sgt. Det. Lembo to address the manner and delay in which the email was
delivered to her. Payne-Callender went to the Human Trafficking Unit office and spoke with
Sergeant Kathy Doris, She requested that Sgt. Doris instruct Human Trafficking Unit
petsonnel to forward emails meant for Payne-Callender directly to her, rather than delaying
delivery of the email by providing a copy to a supervisor. Sgt. Doris agreed to this request.

51. Immediately following Payne-Callender’s conversation with Sgt. Doris, Ms. Dougherty
initiated a verbal exchange with Payne-Callender in an aggressive manner. Payne-Callender
walked out of the Human ‘Trafficking Unit and did not engage with Ms. Dougherty, Gavin
was not on duty or present in the Human Trafficking Unit at the time of the incident. Payne-
Callender returned to the Crimes Against Children Unit and reported the incident to Sgt, Det.

~ Lembo.

52, After a discussion between Sgt. Det. Lembo and Sgt. Doris, they determined the incident did
not require narrative reports (“Form 26 Reports”) documenting it from the parties or

witnesses.

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On August 17, 2017, Payne-Callender spoke to Capt. Det. Hayes about the incident with Ms,
Dougherty and he agreed with and confirmed the decision of Sgt. Det. Lembo and Sgt. Doris
that no Form 26 Reports were required.

Sometime later on August 17, 2017, Payne-Callender observed Gavin and Ms. Dougherty
leave the Family Justice Center together. When Ms. Dougherty returned to the Family Justice
Center, she refused to speak. with Sgt. Doris but rather handed her a Form 26, Sgt. Doris took
the Form 26 to Capt. Det. Hayes, at which time Capt. Det. Hayes stated that everyone in the
Human Trafficking Unit (including Plaintiff) must now submit a Form 26.

On September 5, 2017, Sgt. Det. Lembo informed Payne-Callender that he was asked by
Gavin to rewrite his Form 26 Report for submission to Human Resources and remove facts
about the incident with Ms. Dougherty because his original Report would “open up a can of
worms,”

On September 6, 2017, Payne-Callender met with Capt. Det. Hayes, Sgt. Det. Lembo, and
Set, Det. Miller and learned that Gavin had submitted only Ms. Dougherty’s Form 26 Report
to Human Resources and had not submitted the seven other Form 26 Reports related to the
incident. |

Gavin did not attempt to speak with Payne-Callender about the incident with Ms. Dougherty,
nor did she inform anyone about her submission of only Ms. Dougherty’s Form 26 Report
(despite having reviewed all cight Form 26 Reports on August 22, 2017).

Gavin’s obfuscation of the facts in this instance was a deliberate attempt to smear Payne-
Callender and is evidence of the type of discriminatory behavior that Payne-Callender has
had to endure at the hands of Gavin. Gavin’s discriminatory actions caused Payne-Callender

to come under investigation by Human Resources, unreasonably interfering with Payne-

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Callender’s work performance. Gavin was retaliating against her for cooperating with the
investigation into the competing complaints between Gavin and Capt. Det. Hayes.
If Payne-Callender was white, or a male, she would not have been subjected to Gavin’s
humiliating and discriminatory acts.
If Payne-Callender was white, or a male, the Boston Police would have taken action against
Gavin immediately for her discriminatory conduct towards Payne-Callender.
Gavin’s insidious act of withholding relevant Form 26 Reports from Human Resources was
and is a part of an ongoing pattern of discriminatory behavior and abuse creating a hostile
workplace for Payne-Callender.

Payne-Callender’s September 8, 2017 Internal Affairs Complaint
Due to the continuous discrimination and retaliation on the part of Gavin, in particular her
actions regarding the 2017 Civilian Incident, and the Boston Police Department’s failure to
take steps to protect Payne-Callender from Gavin’s discriminatory and retaliatory conduct,
Payne-Callender was compelled to file a formal “Harassment and Hostile Work
Environment” claim against Gavin with the Boston Police Internal Affairs Division.
On September 8, 2017, Payne-Callender met with Sergeant Detective John McDonough,
formerly of the Internal Affairs Division, to file a complaint against Gavin. Sgt. Det.
McDonough informed Payne-Callender that he was retiring and would not take a new case.
He told Payne-Callender that he would write a synopsis of her complaint but would not take

arecorded interview, and would pass it onto another officer in the department.

64. A meaningful investigation into Internal Affairs complaints includes, in part, the procedures

set forth in Boston Police Rule and Procedures No. 114 titled “Sexual Harassment,

Discrimination, Harassment, and Retaliation Policy and Complaint Procedure.” The

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investigation condicted by Internal Affairs on behalf of Payne-Callender was certainly not
meaningful.

65. On September 12, 2017, Payne-Callender spoke with Sergeant Detective Michael Talbot
regarding her complaint against Gavin. Payne-Callender learned from Sgt. Det. Talbot that
Superintendent Frank Mancini falsely reported that he spoke with Payne-Callender about the
investigation into her complaint. Payne-Callender did not speak with Super. Mancini about
Gavin at any time,

66. On September 15, 2017, Deputy Superintendent Jeffrey Walcott called Payne-Callender to
schedule an interview on her claims against Gavin. Dep. Super. Walcott was not able to tell
Payne-Callender who would be investigating her claims.

67. Payne-Callender’s Internal Affairs interview took place on September, 19, 2017 in the
presence of Lieutenant Detective Brian McEachern, Sergeant Detective Sharon Dottin and
Union Attorney Scott Dunlap. During the interview, Payne-Callender stated that Sgt. Det.
McDonough’s synopsis prepared on September 8, 2017 was inaccurate and inconsistent with
what Payne-Callender reported.

68. Afier the interview, Lt. Det. McEachern told Payne-Callender that the assigned Internal
Affairs Investigator would contact her. Payne-Callender requested immediate remedial
action to protect her from discriminatory conduct, the hostile working conditions, and
retaliation. Lt. Det. McEachern did not provide Payne-Callender any assurance that remedial
action would be taken to remove her from the chain of command, despite the Department’s
usual and customary policy of removing a complainant or the aggressor from the chain of

command once a complaint is filed.

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On October 5, 2017, Payne-Callender learned from Capt, Det. Hayes that Sergeant Detective
Brian Riley of Internal Affairs was assigned to investigate her complaint. Payne-Callender
was never contacted by Sgt. Det. Riley despite Lt. Det. McEachern’s representation that she
would be contacted directly.

Payne-Callender repeatedly has been told that Internal Affairs is “investigating” her claim
against Gavin, but have not reached a conclusion and are unable to tell Payne-Callender
when the investigation will be completed. Upon information and belief, there are now three
other internal affairs complaints against Gavin for creating a hostile workplace and other
discriminatory acts and abuses against officers, civilian employees and the Suffolk County
District Attorney’s Office.

Since Payne-Callender’s formal complaint, Gavin brought suit in Norfolk Superior Court
against the Boston Police and Capt. Det. Hayes on March 16, 2018, alleging discrimination
and hostile workplace claims. The case has since been removed to the U.S. District Court for
the District of Massachusetts, Docket No. 1:18-cv-10819-LTS.

To date, Internal Affairs has taken no action to protect Payne-Callender or legitimately
investigate her claims. The Boston Police investigation is a sham undertaken to delay action
against Gavin that may harm its defenses in Gavin's lawsuit against it and Capt. Det. Hayes.
The pending litigation between the defendants to this action unreasonably prohibits Payne-
Callender from obtaining a resolution of her complaint and protection from Gavin’s
harassment and discrimination.

The Boston Police’s conduct in this instance is discriminatory and violates Payne-Callender’s

tight to be free from harassment and discrimination.

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Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 54 of 74

2018 Crimes Against Children Unit Emails
Payne-Callender injured her foot in a workplace incident on February 27, 2018. Payne-
Callender has been out on temporary medical leave since March 14, 2018. Despite this
temporary medical leave, Payne-Callender is still a detective in the Crimes Against Children
Unit and will return to the Crimes Against Children Unit when she is medically cleared to do
SO.
Gavin routinely and intentionally sends emails to all detectives in the Human Trafficking
Unit and the Crimes Against Children Unit on case-telated and investigatory matters. Gavin
systematically leaves Payne-Callender off of the email distribution chain of division and
case-specific emails despite Payne-Callender’s assignment to the Crimes Against Children
Unit.
Payne-Callender knows this to be true because other detectives within the Crimes Against
Children Unit forward Payne-Callender emails sent by Gavin that do not include her as a
recipient,
Gavin continues her pattern of discriminatory and retaliatory conduct creating a hostile
workplace within which Payne-Callender is required to work—even when Payne-Callender
is on temporary leave. Gavin’s deliberate, bad faith act of leaving Payne-Callender off of
official Boston Police communications severely disadvantages Payne-Callender when she
retums to work. Without being kept apprised of developments within the Crimes Against
Children Unit, Payne-Callender’s job performance is at risk.
Gavin's retaliatory conduct is a direct result of Payne-Callender’s protected conduct, namely
cooperating with the Internal Affairs investigation into the competing Gavin and Capt. Det.

Hayes complaints and Payne-Callender’s complaint against Gavin.

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Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 55 of 74

All of the foregoing actions on the part of Gavin and the Boston Police are part of a
continuing course of conduct amounting to years of discrimination, retaliation, and abuse
sustained by Payne-Callender.
Count I
Discrimination on the Basis of Race, Gender and Age
(as against Donna M. Gavin)
Mass. Gen. Laws c. 151B, § 4 and 29 U.S.C, § 631 (a)
Payne-Callender alleges and incorporates by reference the allegations set forth in Paragraphs
1 through 80.
The foregoing severe, pervasive race, gender and age based discrimination by Gavin created
a hostile work environment and deprived Payne-Callender of opportunities to advance her
career that, based on merit, Payne-Callender was supremely qualified for.
Gavin’s actions have violated Payne-Callender’s right to be free from race, gender and age
based discrimination in her place of work.
As a result of such race, gender and age based discrimination, Payne-Callender suffered
extreme mental and emotional distress.
Ag a result of such race, gender and age based discrimination, Payne-Callender has lost
earnings and her earning capacity has been significantly reduced.
Count II
Discrimination on the Basis of Race, Gender and Age
(as against the Boston Police Department)
Mass. Gen. Laws ¢, 151B, § 4 and 29 U.S.C. § 631 (a)

Payne-Callender alleges and incorporates by reference the allegations set forth in Paragraphs
1 through 85.

At all times relevant herein, Gavin was and is a supervisor with the Boston Police vested

with supervisory authority.

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Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 56 of 74

88. The foregoing severe, pervasive race, gender and age based discrimination maintained and/or
permitted to be maintained in the work place by the Boston Police Department created a
hostile work environment and deprived Payne-Callender of opportunities to advance her
career that, based on merit, Payne-Callender was supremely qualified for.

89, The Boston Police knew or should have known of race, gender and age based discriminatory
conduct towards Payne-Callender and failed to take remedial action.

90. The Boston Police Department’s actions have violated Payne-Callender’s right to be free
from race, gender and age based discrimination in the work place.

91. As a result of such race, gender and age based disctimination, Payne-Callender suffered
extreme mental and emotional distress.

92, As a result of such race, gender and age based discrimination, Payne-Callender has lost
eatnings and her earning capacity has been significantly reduced.

Count Ii
Hostile Workplace
(as against Donna M. Gavin)
Mass. Gen. Laws c. 151B, § 4

93. Payne-Callender alleges and incorporates by reference the allegations set forth in Paragraphs
1 through 92.

94. The foregoing severe, pervasive harassment, discrimination and abuse on the part of Gavin
have aggregated over time creating a hostile work environment and unreasonably interfered
and continues to interfere with Payne-Callender’s work performance and career trajectory.

95, Gavin’s actions have violated Payne-Callender’s right to be free of abuse, harassment and
discrimination in the workplace.

96. As a result of such abusive, harassing and discriminatory conduct, Payne-Callender suffered

extreme mental and emotional distress.

{H0051318.1} 19

 
Case 1:19-cv-11286-RGS Document1-1 Filed 06/10/19 Page 57 of 74

97, As a result of such abusive, harassing and discriminatory conduct, Payne-Callender has lost
earnings and her earning capacity has been significantly reduced.
Count IV
Hostile Workplace
(as against The City of Boston Police Department)
Mass. Gen, Laws c. 151B, § 4

98. Payne-Callender alleges and incorporates by reference the allegations set forth in Paragraphs
1 through 97, |

99, At all times relevant herein, Gavin was and is a supervisor with the Boston Police vested
with supervisory authority.

100. The foregoing severe, pervasive harassment, discrimination and abuse on the part of
Gavin have aggregated overt time creating a hostile work environment and unreasonably
interfered and continues to interfere with Payne-Callender’s work performance and career
trajectory.

101. Gavin’s actions have violated Payne-Callender’s right to be free of abuse, harassment and
discrimination in the workplace.

102. The Boston Police knew or should have known of Gavin’s harassing, discriminatory and
abusive conduct towards Payne-Callender and failed to take remedial action.

103, As aresult of such abusive, harassing and discriminatory conduct on the part of Gavin in
her supervisory role, the Boston Police are strictly liable for Gavin’s conduct towards Payne-
Callender.

104. As a result of such abusive, harassing and discriminatory conduct, Payne-Callender
suffered extreme mental and emotional distress,

105. Asa result of such abusive, harassing and discriminatory conduct, Payne-Callender has

lost earnings and her earning capacity has been significantly reduced.

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Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 58 of 74

Count V
Retaliation
(as against Donna M. Gavin aud The Boston Police Department)
Mass. Gen. Laws ce, 1513, § 4

106, Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs 1 through 105.

107. At all times relevant herein, Gavin was and is a supervisor with the Boston Police vested
with supervisory authority.

108. Gavin retaliated against Payne-Callender in violation of Mass. Gen, Laws c, 151B, § 4.

109. The Boston Police knew or should have known of Gavin’s retaliatory conduct towards
Payne-Callender and failed to take remedial action.

110. Gavin engaged in retaliatory conduct against Payne-Callender because she testified in
cooperation with the Internal Affairs investigation of the competing Gavin and Capt. Det.
Hayes complaints.

111. Payne-Callender’s testimony regarding the competing Gavin and Capt. Det. Hayes
complaints was legally protected conduct as defined by Mass. Gen. Laws c. 151B.

112, After Payne-Callender testified, she suffered adverse employment action at the hands of
Gavin, including, but not limited to, Gavin using her position of authority to attempt
initiation of disciplinary action against Payne-Callender as a result of the 2017 Civilian
Incident; and, Gavin using her position of authority to attempt to limit Payne-Callender’s
ability to advance her career and obtain a promotion.

113. This adverse change in Payne-Callender’s employment created a material disadvantage to
her employment with the Boston Police.

114. Gavin continues to retaliate against Payne-Callender after she filed her harassment claim

against Gavin on September 8, 2017. As of the date of this filing, Gavin is deliberately

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Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 59 of 74

withholding case and department-specific information and communications from Payne-
Callender in order to sabotage Payne-Callender’s work performance and career advancement.

115. Asa tesult of such retaliatory conduct, Payne-Callender suffered and continues to suffer
extreme mental and emotional distress.

116. Asa result of such retaliatory conduct, Payne-Callender has lost earnings and her earning
capacity has been significantly reduced.

Count VI
Mass. Gen. Laws ce. 151B, § 4(4A)
Discrimination Based Upon Sham Investigation
(as against the City of Boston Police Department)

117. Payne-Callender alleges and incorporates by reference the allegations set forth in
Paragraphs | through 116.

118. Atall times relevant herein, Gavin was and is a supervisor with the Boston Police vested
with supervisory authority.

119. The Boston Police discriminated against Payne-Callender in violation of Mass, Gen.
Laws c. 151B, § 4(4A), because it knew or should have known of Gavin’s harassing,
discriminatory, abusive and retaliatory conduct towards Payne-Callender and yet
intentionally failed to take adequate steps to investigate and remedy the situation between
Payne-Callender and Gavin - even after Payne-Callender filed her complaint.

120. Indeed, the only “investigation” that the Boston Police have conducted to-date amounts
to nothing more than a sham delay scheme designed to give itself room to negotiate a
separately filed lawsuit by Gavin herself; this opposed to a fair and “by the book” look into

Payne-Callender’s claims of discritnination against Gavin — to the sole detriment of Payne-

Callender.

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Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 60 of 74

121. The Boston Police continue to engage in discriminatory conduct towards Payne-
Callender by failing to conduct a meaningful investigation into, and issuing any finding on,
her September 8, 2017 Internal Affairs Complaint against Gavin.

122, This sham investigation interferes with Payne-Callender’s right to be protected under
Mass. Gen. Laws c. 151B, § 4(4A) from discrimination due to her exercise of her right to
complain about Gavin’s actions.

123. Internal Affairs has done nothing to protect Payne-Callender, legitimately investigate or
render a conclusion on her complaint. Unfortunately, it appears that the Boston Police
“investigation” is a sham undertaken to delay action against Gavin that may harm its
defenses in Gavin’s separately recently filed lawsuit against it and Capt. Det. Hayes.

124. The failure to enforce Department rules and policies equally against all employees has
resulted in disparate and discriminatory treatment of Payne-Callender.

125, The failure to fully investigate and protect Payne-Callender from Gavin’s harassing and
retaliatory conduct violates Mass, Gen. Laws c. 151B, § 4(4A).

-126. As a xesult of such sham investigation, Payne-Callender suffered extreme mental and
emotional distress. |

127. Asa result of such sham investigation, Payne-Callender has lost earnings and her earning

capacity has been significantly reduced.

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Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 61 of 74

Dated: rane Lt 2018. The Plaintiff,

G. RENEE PAYNE-CALLENDER,

By her Attorneys,

  
 

 

Jeremy Y Wélan (BBO No. 662293)

jweltman@heymesnetburn.com

Michelle vr (BBO No, 684836)

mbyers@hetmesnetburn.com

HERMES, NETBURN, O’CONNOR &
SPEARING, P.C.

265 Franklin Street, Seventh Floor

Boston, Massachusetts 02110-3113

(617) 728-0050 (tel)

(617) 728-0052 (fax)

(HO0515Es,1} OA

 
Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 62 of 74

VERIFICATION

I, G. Renee Payne-Cal lender, Plaintiff in the above-captioned matter, hereby certify under
the pains and penalties of perjury that I have fully read the within Verified Complaint and that the

facts stated therein are true and accurate to the best e&n

X

 
     

 
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EXHIBIT B

 
Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 64 of 74

 

 

 

     

= _
From: Kent W. McKinley

Sent: Monday, November 05, 2018 10:47 AM

To: ‘PublicRecordRequest@pd.boston.gov’

Cc: Michelle M. Byers; Jeremy Y. Weltman; Kent W. McKinley

Subject: RE: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4,

2018 Interna! Affairs Interview

Good morning,
Please advise on the status of Detective Payne-Callender’s requests for the transcripts of her Internal Affairs interviews.
Thank your

Kent McKinley

From: Kent W. McKinley

Sent: Thursday, November 1, 2018 1:34 PM

To: ‘PublicRecordRequest@pd.boston.gov' <PublicRecordRequest @pd.boston.gov>

Cc: Michelle M. Byers <mbyers@hermesnetburn.com>; Jeremy Y. Weliman <jweltman@hermesnetburn.com>; Kent W.
McKinley <KMcKiniey@hermesnetburn.com>

Subject: RE: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4, 2018 Internal Affairs
Interview

Good afternoon,

| am following up regarding our request for the transcripts of Detective Payne-Callender’s Internal Affairs interviews.
Please advise regarding the status of our requests.

Thank you

Kent McKinley

From: Kent W. McKinley

Sent: Tuesday, October 23, 2018 10:42 AM

To: 'PublicRecordRequest@pd.boston.gov' <PublicRecordRequest@pd.boston.gov>

Cc: Michelle M. Byers <mbyers@hermesnetburn.com>; Jeremy Y. Weltman <jweltman@hermesnetburn.com>; Kent W.
Mckinley <KMcKinley@hermesnetburn.com> -

Subject: RE: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4, 2018 Internal Affairs
Interview

 

Good morning,

In addition to the below, could you also provide the transcript of Detective Payne-Callender’s 9/19/2017 Internal Affairs
interview?

Thank you and please let me know if you have any questions.

- Kent McKinley

 

 
Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 65 of 74

From: Kent W. McKinley
Sent: Thursday, October 18, 2018 2:14 PM 3

To: 'PublicRecordRequest@pd.boston.gov' <PublicRecordRequest@pd.boston.gov> oO

Cc: Kent W. McKinley <KMcKinley@hermesnetburn.com>; Michelle M. Byers <mbyers@hermesnetburn.com>; Jeremy Y.
Weltman <jweltman@hermesnetburn.com>

Subject: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4, 2018 Internal Affairs
interview

 

Good afterncon,

Jeremy Weltman, Michelle Byers, and myself are attorneys at the firm of Hermes, Netburn, O'Connor & Spearing, P.C.
and we represent Detective G. Renee Payne-Callender. We are requesting a copy of the transcript of Detective Payne-
Callender’s recent Internal Affairs interview, which was conducted on October 4, 2018. Please provide such transcript as
soon as possible and please let me know if you require any more information or have any questions.

Thank you

Kent W. McKinley
Associate
Hermes, Netburn, O'Connor & Spearing, P.C.

HERMES
NETBURN

265 Franklin Street, 7th Floor | Boston, MA 02110
direct 617.210.7713 | cell 207.415.4205 [| main 617.728.0050
kmckinley@hermesnetburn.cém | vwavw.hermesnetburn.com

 

   

 

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EXHIBIT C

 

 
Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 67 of 74

Michelle M. Byers

 

 

ae See uae si
From: Kent W. McKinley
Sent: Tuesday, October 23, 2018 10:42 AM
To: ‘PublicRecordRequest@pd.boston,gov'
Ce: Michelle M. Byers; Jeremy Y. Weltman; Kent W. McKinley
Subject: RE: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4,

2018 Internal Affairs Interview

Good morning,

In addition to the below, could you also provide the transcript of Detective Payne-Callender’s 9/19/2017 Internal Affairs
interview?

Thank you and please let me know if you have any questions.

- Kent Mckinley

From: Kent W. McKinley

Sent: Thursday, October 18, 2018 2:14 PM

To: 'PublicRecordRequest@pd.boston.gov' <PublicRecordRequest@pd.boston.gov>

Cc: Kent W. McKinley <KMcKinley@hermesnetburn.com>; Michelle M. Byers <mbyers@hermesnethurn.com>; Jeremy Y.
Weltman <jweltman@hermesnetburn.com>

Subject: Request for Copy of Transcript of Detective G, Renee Payne-Callender's October 4, 2018 internal Affairs
interview

Good afternoon,

Jeremy Weltman, Michelle Byers, and myself are attorneys at the firm of Hermes, Netburn, O’Connor & Spearing, P.C.
and we represent Detective G. Renee Payne-Callender. We are requesting a copy of the transcript of Detective Payne-
Callender’s recent internal Affairs interview, which was conducted on October 4, 2018. Please provide such transcript as
soon as possible and please jet me know if you require any more information or have any questions.

Thank you

Kent W. McKinley
Associate...
Hermes, Netburn, Q'’'Connor & Spearing, P-C.

HERMES
NETBURN

265 Franklin Street, 7th Floor | Boston, MA 02110
direct 617.210.7713 | cell 207.415.4205 | main 617.728.0050
kmckinley@hermesnetbum.com | www.hermesnetburn.com

 

   

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EXHIBIT D
Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 69 of 74

Michelle M. Byers

 

 

 

a ike EE
From: Jennifer Samson <jennifer.ssamson@pd.boston.gov>
Sent: Monday, November 05, 2018 3:58 PM
To: Kent W. McKinley
Ce: PublicRecordRequest@pd.boston.gov; Michelle M. Byers; Jeremy Y. Weltman
Subject: Re: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4,
2018 Internal Affairs Interview
Attachments: imaget02.png

Good afiernoon Attorney McKinley:

In response to your request, I was advised that the investigations of the two Internal Affairs cases involving Det.
Payne-Callender are pending. These cases are identified as IAD2017-0409 and IAD2018-0354, Accordingly,
the contents of these files, including Det. Payne-Callender's interviews, are not subject to disclosure under the
investigatory exemption of the public records law. See M.G.L. c. 4 § 7Q6th)(). The exemption allows
investigative officials to withhold materials that could compromise investigative efforts if

disclosed. Accordingly, a records custodian may withhold any information relating to an ongoing investigation
that could potentially alert suspects to the activities of investigative officials, and similarly, records custodians
may withhold confidential investigative techniques indefinitely since their disclosure would prejudice future
law enforcement efforts. These interviews and any other related materials will be made available at the
conclusion of the investigations.

Thank you,

Jennifer Samson

Legal Assistant

Boston Police Department
Office of the Legal Advisor
One Schroeder Plaza, 4th Floor
Boston, MA 02120
617.343.4550 (p)
617.343.4609 (f)

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EXHIBIT E

 
Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 71 of 74

Michelle M. Byers

 

 

 

 

From: Kent W. McKinley

Sent: Wednesday, November 07, 2018 11:48 AM

To: ‘Jennifer Samson’

Cc: PublicRecordRequest@pd.boston.gov; Michelle M. Byers; Jeremy Y. Weltman; Kent W.
McKinley ;

Subject: RE: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4,

2028 Internal Affairs Interview

Hi Jennifer,

The BPD has the burden of proving with specificity that that such exception is applicable to Detective Payne-Callender’s
request. See, Rafuse v. Stryker, 61 Mass. App. Ct. 595; 597, 813 N.E.2d 558, 564 (Mass. Ct. App. 2004). To meet this
burden, the BPD must demonstrate that thé release of the documents requested by Detective Payne-Callender “would
probably so prejudice the possibility of effective law enforcement that such disclosure would not be in the public
interest.” See, in re Subpoena Duces Tecum, 445 Mass. 685, 690, 840 N.E.2d 470, 475 (Mass. 2006). This is a fact
intensive analysis and “a decision whether an exemption to disclosure applies requires careful case-by-case
consideration.” See, WBZ-TV4 v. Dist. Atty. for Suffolk Dist., 408 Mass. 595, 603, 562 N.E.2d 817, 822 (1990). M.G.L. c. 4
§ 7 is not a “blanket exemption for police records or investigation materials.” See, Antell v. Attorney Gen., 52 Mass. App.
Ct. 244, 248, 752 N.E.2d 823, 826 (Mass. App. Ct. 2001}. And the fact that “some exempt material may be found ina
document or report of an investigatory character” does not prohibit its disclosure. See, Reinstein v. Police Com'r of
Boston, 378 Mass. 281, 290, 391. N.E.2d 881, 886 (Mass. 1979).

Significantly, the Massachusetts Supreme Judicial Court has ruled that this exception does not permit the BPD to
withhold internal Affairs materials that are relevant to a pending action alleging employment discrimination. See, Boston
Police Superior Officers Fed'n v. City of Boston, 414 Mass. 458, 608 N.E.2d 1023 (Mass. 1993). Detective Payne-
Callender’s complaint is currently pending with the MCAD and the requested documents are relevant-to her complaint.

| suggest that the BPD produce the requested documents pursuant to a protective order, eliminating any concerns the
BPD may have regarding any prejudicial impact on the possibility of effective law enforcement.

Please advise by November 9, 2018 if the BPD is willing to produce Detective Payne-Callender’s requested documents
pursuant to a mutually agreeable protective order, or if the BPD will force us to bring a lawsuit to obtain the documents
being sought by my client.

Thank you

Kent McKinley

From: Jennifer Samson [mailto:jennifer.samson@pd.boston.gov]

Sent: Monday, November 5, 2018 3:58 PM

To: Kent W. McKinley <KMcKinley@hermesnetburn,com>

Cc: PublicRecordRequest@pd.boston.gov; Michelle M. Byers <mbyers@hermesnetburn.com>; Jeremy Y. Weltman

<jweltman@hermesnetburn.com>
Subject: Re: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4, 2018 Internal Affairs

Interview

Good afternoon Attorney McKinley:

 

 

 
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In response to your request, I was advised that the investigations of the two Internal Affairs cases involving Det.
Payne-Callender are pending. These cases are identified as [AD2017-0409 and IAD2018-0354. Accordingly,
the contents of these files, including Det. Payne-Callender's interviews, are not subject to disclosure under the
investigatory exemption of the public records law. See M.G.L. c. 4 § 7(26th)(). The exemption allows
investigative officials to withhold materials that could compromise investigative efforts if

disclosed. Accordingly, a records custodian may withhold any information relating to an ongoing investigation
that could potentially alert suspects to the activities of investigative officials, and similarly, records custodians
may withhold confidential investigative techniques indefinitely since their disclosure would prejudice future
law enforcement efforts. These interviews and any other related materials will be made available at the
conclusion of the investigations.

Thank you,

Jennifer Samson

Legal Assistant

Boston Police Department
Office of the Legal Advisor
One Schroeder Plaza, 4th Floor
Boston, MA 02120
617.343.4550 (p)

617.343.4609 (f)

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be corrected.

On Mon, Nov 5, 2018 at 10:47 AM Kent W. McKinley <KMckinley@hermesnetburn.com> wrote:

 

: Good morning,

| Please advise on the status of Detective Payne-Callender’s requests for the transcripts of her Internal A ffairs
- interviews. , o

~ Thank you

 

 
Case 1:19-cv-11286-RGS Document 1-1 Filed 06/10/19 Page 73 of 74

Kent McKinley

From: Kent W. McKinley

_ Sent: Thursday, November 1, 2018 1:34 PM

' To: 'PublicRecordRequest(@pd. boston.gov' <PublicRecordRequest(@pd.boston.gov>

_ Ce: Michelle M. Byers <mbyers(@hermesnetburn.com>; Jeremy Y. Weltman

- <jweltman@hermesnetburm.com>; Kent W. McKinley <KMcKinley@hermesnetburn.com>

- Subject: RE: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4, 2018
~ Internal Affairs Interview

 

. Good afternoon,

| Jam following up regarding our request for the transcripts of Detective Payne-Callender’s Internal Affairs
_ interviews. Please advise regarding the status of our requests.

| ‘Thank you

: Kent McKinley

From Kent W. MoKinley st ee nee ost Weingut eR ae gee SEE Sn a oe eter Eo ne ma ena ek ee

| Sent: Tuesday, October 23, 2018 10:42 AM

To: 'PublicRecordRequest(@pd.boston.gov' sPublicReeordRequest(@pd.boston.gov>

- Ce: Michelle M. Byers <mbyers@hermesnetburn.com>; Jeremy Y. Weltman

_ <jweltman@hermesnetburn.com>; Kent W. McKinley <KMcKinley@hermesnetburn.com>

- Subject: RE: Request for Copy of Transcript of Detective G. Renee Payne- Callender’ s October 4, 2018
- Internal Affairs Interview

Good morning,

In addition to the below, could you also provide the transcript of Detective Payne-Callender’s 9/19/2017
Internal Affairs interview?

:
|
|
|!

 
Case 1:19-cv-11286-RGS Document1-1 Filed 06/10/19 Page 74 of 74

* Thank you and please let me know if you have any questions.

.~ Kent McKinley

| From: Kent W. McKinley

_ Sent: Thursday, October 18, 2018 2:14 PM’

' To: 'PublicRecordRequest(@pd.boston.gov' <PublicRecordRequest(@pd.boston.gov>

Ce: Kent W. McKinley <KMcKinley@hermesnetburn.com>; Michelle M. Byers

~ <mbyers@hermesnictbun.cont>; Jeremy Y. Weltman <jweltman@bhermesnetburn-coin>

' Subject: Request for Copy of Transcript of Detective G. Renee Payne-Callender's October 4, 2018 Internal
Affairs Interview

 

 

 

. Good afternoon,

. Jeremy Weltman, Michelle Byers, and myself are attorneys at the firm of Hermes, Netburn, O’Connor &

| Spearing, P.C. and we represent Detective G. Renee Payne-Callender. We are requesting a copy of the

: transcript of Detective Payne-Callender’s recent Internal Affairs interview, which was conducted on October 4,
' 2018. Please provide such transcript as soon as possible and please let me know if you require any more

- information or have any questions.

- Thank you

~ Kent W. McKinley.

' Associate

: Hermes, Netbum, O’Connor & Spearing, P.C.

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